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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL DIVERSITY,
378 N. Main Avenue
Tucson, AZ 85701;

DEFENDERS OF WILDLIFE,
1130 17th Street, N.W.
Washington, D.C. 20036;                                Case No. 1:19-cv-00408-TNM

ANIMAL LEGAL DEFENSE FUND,
525 E. Cotati Ave.
Cotati, CA 94931;

               Plaintiffs,
v.

DONALD J. TRUMP,
in his official capacity as President of the United
States
1600 Pennsylvania Avenue, N.W.
Washington, D.C. 20500;

PATRICK M. SHANAHAN,
in his official capacity as acting Secretary of
Defense
Department of Defense
1000 Defense Pentagon
Washington, D.C. 20301;

LIEUTENANT GENERAL TODD T. SEMONITE,
in his official capacity as Commander and Chief of
Engineers
U.S. Army Corps of Engineers
441 G Street, N.W.
Washington, D.C. 20314-1000;

KEVIN McALEENAN,
in his official capacity as acting Homeland Security
Secretary
Department of Homeland Security
245 Murray Lane, S.W.
Washington, D.C. 20528;
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DAVID BERNHARDT,
in his official capacity as Secretary of the Interior
Department of the Interior
1849 C Street, N.W.
Washington, D.C. 20240;

                Defendants.



    FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                         INTRODUCTION

        1.      On February 15, 2019, President Donald J. Trump issued a “Presidential

Proclamation on Declaring a National Emergency Concerning the Southern Border of the United

States” (hereinafter, “emergency proclamation”), pursuant to the purported authority of the

National Emergencies Act (“NEA”), 50 U.S.C. § 1601 et seq. 84 Fed. Reg. 4949 (Feb. 20,

2019). On the same day, the administration issued a statement that it had identified

approximately $6.7 billion in funds “available to build the border wall once a national

emergency is declared and additional funds have been reprogrammed.” See Fact Sheet, White

House Press Office, President Donald J. Trump’s Border Security Victory (Feb. 15, 2019).1

These funds would originate from three separate sources:

                   “About $601 million from the Treasury Forfeiture Fund”;

                   “Up to $2.5 billion under the Department of Defense funds transferred for

                    Support for Counterdrug Activities (Title 10 United States Code, section

                    284”) (hereinafter, “counterdrug account”); and




1
  Plaintiffs use the terms “border wall and” and “border fence” interchangeably. Regardless of
construction method (steel bollard is currently the most commonly utilized), these large
structures have far reaching environmental impacts.


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                  “Up to $3.6 billion reallocated from Department of Defense military

                   construction projects under the President’s declaration of a national

                   emergency (Title 10 United States Code, section 2808).” Id.

       2.      Immediately after issuing the emergency proclamation, the President signed the

Consolidated Appropriations Act, 2019, into law, which appropriates an additional $1.375 billion

to U.S. Customs and Border Protection (“CBP”) for border wall construction in the Rio Grande

Valley, Texas. Pub. L. No. 116-6; H.R.J. Res. 31, 116th Cong. § 230(a)(1) (enacted)

(hereinafter, “2019 Consolidated Appropriations Act”).

       3.      The administration stated its intent to use these funds for border wall construction

“sequentially and as needed” by source, in the following order: 2019 Consolidated

Appropriations Act funds; Treasury Forfeiture Fund; counterdrug account funds; and emergency

military construction funds. See Fact Sheet, Border Security Victory. Instead, the Department of

Defense (“DoD”) has already identified, transferred, and obligated appropriated funds into, and

from, the counterdrug account funds despite the fact funds appropriated under the 2019

Consolidated Appropriations Act have not been fully obligated.

       4.      Of the 58 times presidents have previously declared emergencies under the NEA,

none involved using emergency powers to fund a policy goal after a president failed to meet that

goal through foreign diplomacy (having Mexico pay for the wall) or the congressional

appropriations process. This abuse of the congressional delegated NEA authority renders the

proclamation unlawful.

       5.      Even under a validly declared emergency, the President must identify any

available statutory authority an emergency proclamation triggers in order to lawfully transfer

Congressionally appropriated funds. The NEA does not permit a president to take any action,




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but instead unlocks a president’s ability to invoke specific and existing emergency statutory

authorities. Although the proclamation relies on military construction authority pursuant to 10

U.S.C. § 2808, both the plain language and broader statutory context of that provision

demonstrate that it is inapplicable to border wall construction. As the President has failed to

identify any statutory authority pursuant to the NEA related to border wall construction, the

emergency transfer of appropriated military construction funds to border wall construction is

unlawful.

       6.      The President’s order that DoD transfer appropriated funds into, and from, the

counterdrug account, and the Defense Secretary’s and Army Corps of Engineers’ implementing

actions to identify, transfer, and obligate appropriated funds to border wall construction, are also

unlawful under the 2019 Consolidated Appropriations Act and DoD FY 19 Appropriations Act.

       7.      Defendants have failed to meet the duties applicable to lead and cooperating

agencies for projects involving multiple Federal agencies under the National Environmental

Policy Act (“NEPA”), 42 U.S.C. § 4321 et seq. The agencies’ failure to initiate and complete an

environmental impact statement for the Trump administration’s border wall project will promote

secrecy where there should be transparency; divest Plaintiffs, local communities and other

stakeholders of opportunities for public notice, review, and comment; and allow significant

environmental harm to occur that could be avoided or mitigated if a lawful NEPA process were

undertaken.

       8.      By unlawfully transferring funds from the counterdrug support account and

military construction appropriations to border wall construction, the emergency proclamation,

and the Defense Secretary’s and Army Corps of Engineers’ implementing actions to identify,

transfer, and obligate appropriated funds to border wall construction, also exceed President




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Trump’s constitutional authority by usurping Congress’s Article I Appropriation powers, U.S.

CONST. art. I, § 9, and by violating the President’s obligation to “take Care that the Laws be

faithfully executed.” U.S. CONST. art. II, § 3.

       9.      Implementation of the emergency proclamation, including the Defense

Secretary’s and Army Corps of Engineers’ implementing actions to identify, obligate, and

transfer appropriated funds to border wall construction, should be declared unlawful and

enjoined.

                                 JURISDICTION AND VENUE

       10.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and can

grant declaratory relief pursuant to 28 U.S.C. §§ 2201-2202, the Administrative Procedure Act

(“APA”), 5 U.S.C. § 706, and its equitable powers.

       11.     Venue properly vests in this Court pursuant to 28 U.S.C. § 1391(b) and (e),

because the violations are occurring in this district, Defendants reside in this district, and a

substantial part of the events or omissions giving rise to the claims have occurred in this district

due to decisions made by the Defendants.

                                             PARTIES

       12.     Plaintiff CENTER FOR BIOLOGICAL DIVERSITY (“the Center”) is a non-

profit conservation organization dedicated to the protection of endangered species and their

habitats through science, policy, and environmental law. The Center is headquartered in Tucson,

Arizona, with offices in Washington, D.C., and numerous other locations throughout the country,

and an office in Baja California Sur, Mexico. The Center has more than 68,000 members and

more than one million supporters.




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       13.     The Center has worked for more than two decades to oppose environmentally

harmful border fencing along the U.S.-Mexico border generally, and within the specific Border

Patrol sectors (San Diego, El Centro, Tucson, Yuma, El Paso, Laredo, and Rio Grande Valley)

where border wall construction will occur under the emergency proclamation, and the Defense

Secretary’s and Army Corps of Engineers’ implementing actions to identify, transfer, and

obligate appropriated funds to border wall construction. The Center also has a long history of

advocating for the protection of rare wildlife habitat and specific species that would be impacted

by the transfer and obligation of appropriated funds to border wall construction including jaguar,

ocelot, peninsular bighorn sheep, Sonoran pronghorn, Mexican gray wolf, Quino checkerspot

butterfly, and coastal California gnatcatcher—and is directly responsible for the protection of

numerous borderland species and their critical habitats under the Endangered Species Act.

Center members, including but not limited to, Laiken Jordan and Michael Robinson, enjoy

observing wildlife and their habitat in borderlands areas and enjoy recreating on public lands and

in public areas that will be negatively affected by border wall construction.

       14.     Plaintiff DEFENDERS OF WILDLIFE (“Defenders”) is a nonprofit organization

with nearly 1.8 million members and supporters across the nation. Defenders’ mission is to

preserve wildlife and emphasize appreciation and protection for all species in their ecological

role. Through advocacy, litigation, and other efforts, Defenders works to preserve species and

the habitats upon which they depend. Defenders has been closely involved in policy and

litigation matters associated with border wall construction along the U.S.-Mexico border for

more than a decade. Defenders has field offices across the country, including in Santa Fe, New

Mexico.




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       15.     Plaintiff ANIMAL LEGAL DEFENSE FUND (“ALDF”) is a nonprofit 501(c)(3)

organization with more than 200,000 members and supporters, including thousands of whom live

in states located on the U.S.-Mexico border, and at least hundreds of whom live in towns that are

located in close proximity to border areas at issue. This includes Elizabeth Walsh, who resides

in El Paso, Texas, near Sunland Park, New Mexico, and the U.S.-Mexico border. Ms. Walsh has

been a member of ALDF since at least 2012. She routinely visits the border areas that will be

impacted by the emergency proclamation for professional and recreational purposes. Similarly,

ALDF member Robert Knaier resides in San Diego County, California, and regularly visits the

border area in California for recreational purposes. ALDF represents its members interests by

working to protect the lives of animals, including wildlife, through the legal system. This

includes prior litigation challenging unlawful attempts to waive environmental and animal

protection laws to facilitate border construction. ALDF is headquartered in Cotati, California.

       16.     Plaintiffs have organizational and membership-based interests in the preservation

and conservation of specific areas of the U.S.-Mexico borderlands impacted by the President’s

February 15, 2019 emergency proclamation and the transfer and obligation of appropriated funds

to border wall construction. Plaintiffs and their members are harmed by the emergency

proclamation, and the Defense Secretary’s and Army Corps of Engineers’ implementing actions

to identify, transfer, and obligate appropriated funds to border wall construction. Plaintiffs’

members and staff live in or regularly visit the U.S.-Mexico borderlands region, including

specific areas within the San Diego, El Centro, Tucson, Yuma, El Paso, Laredo, and Rio Grande

Border Patrol sectors that will be impacted by the proposed border wall construction. These

specific areas include numerous areas of federal, state, and local protected borderlands, including

but not limited to Cleveland National Forest, Cabeza Prieta National Wildlife Refuge, Organ




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Pipe Cactus National Monument, Coronado National Forest, San Pedro Riparian National

Conservation Area, San Bernardino National Wildlife Refuge, Organ Mountains-Desert Peaks

National Monument, Lower Rio Grande Valley National Wildlife Refuge, and other lands

administered by the U.S. Bureau of Land Management. Plaintiffs’ staff and members use these

specific borderland areas for hiking; camping; viewing and studying wildlife; photography; and

other scientific, vocational, and recreational activities; and they have specific intentions to

continue to use and enjoy these areas frequently and on an ongoing basis in the future. Border

wall construction resulting from the President’s emergency proclamation, and the Defense

Secretary’s and Army Corps of Engineers’ implementing actions to identify, transfer, and

obligate appropriated funds to border wall construction, and associated actions including

stripping all vegetation within a 150-foot enforcement zone, road construction, and high-

intensity lighting, would harm Plaintiffs’ members and these protected interests in numerous

ways. The harm would include immediate impacts, such as precluding future visitation of

impacted areas, destroying wildlife habitat, and killing individual members of different wildlife

species. Border wall construction would also result in longer term harm, by blocking

connectivity between wildlife populations in U.S. and Mexico, harming the long term viability of

those species, and in some cases, resulting in their extirpation from the United States. These

harms go to Plaintiffs’ central organizational purposes.

       17.     Plaintiffs and their members are harmed by Defendants’ failure to engage in a full

and legally adequate NEPA process, including the failure to consider alternatives and to

adequately study and disclose the direct, indirect, and cumulative adverse ecological, aesthetic,

and recreational impacts of border wall construction in the areas they enjoy. By commencing

border wall construction activities, including identifying, transferring, and obligated appropriated




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funds to border wall construction, without adequately considering and disclosing the

environmental impacts of the resulting activities, Defendants have deprived Plaintiffs and their

members of their procedural rights, under NEPA, to a NEPA process that fully discloses the

effects of, and alternatives to, Defendants’ actions. Defendants have also deprived Plaintiffs of

the information that would be developed through an adequate NEPA document, which Plaintiffs

would use to educate their members and other concerned members of the public about the

environmental impacts of border wall construction. As a result, Plaintiffs must spend substantial

resources pursuing alternative sources of information regarding Defendants’ activities. The

harms to Plaintiffs’ interests could be partially or entirely avoided or mitigated if Defendants

engaged in a NEPA process. Plaintiffs would certainly engage in that process in an effort to

protect the wildlife species and habitat they have long endeavored to conserve as well as the

natural areas in which they enjoy recreating.

       18.     Defendant DONALD J. TRUMP, President of the United States, is sued in his

official capacity. President Trump issued the emergency proclamation on February 15, 2019.

       19.     Defendant PATRICK M. SHANAHAN, Acting Secretary of Defense, is sued in

his official capacity. The February 15, 2019 emergency proclamation instructs the Defense

Secretary to “take all appropriate actions” in support of the proclamation’s directives, including

taking action to transfer military construction and counterdrug operations appropriated funds to

border wall construction.

       20.     Defendant LIEUTENANT GENERAL TODD T. SEMONITE, Commander and

Chief of Engineers of the U.S. ARMY CORPS OF ENGINEERS, is sued in his official capacity.

The U.S. Army Corps of Engineers will receive transfers of appropriated funds, and implement

DoD orders to obligate those funds to border wall construction.




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       21.     Defendant KEVIN McALEENAN, Acting Homeland Security Secretary, is sued

in his official capacity. The February 15, 2019 emergency proclamation instructs the Homeland

Secretary to “take all appropriate actions” in support of the proclamation’s directives.

       22.     Defendant DAVID BERNHARDT, Secretary of the Interior, is sued in his official

capacity. The February 15, 2019 emergency proclamation instructs the Interior Secretary to

“take all appropriate actions” in support of the proclamation’s directives.

                                       LEGAL BACKGROUND

       A.      The National Emergencies Act

       23.     The President’s statutory authority to declare a national emergency is governed by

the 1976 NEA. 50 U.S.C. § 1601 et seq. The NEA was designed to limit presidential power and

reclaim authority that had been delegated from the legislative branch. See Jules Lobel,

Emergency Power and the Decline of Liberalism, 98 Yale L.J. 1385, 1412 (1989) (stating that

NEA responded to “the twin disasters of Vietnam and Watergate” and the sense that “the

pendulum had swung too far” in favor of the growth of executive power).

       24.     The enactment of the NEA terminated all existing states of emergency and

established a uniform procedural framework for the future exercise of such powers. In addition,

the NEA established other mechanisms intended to better ensure presidential accountability by

establishing reporting and other requirements.

       25.     A proclamation issued under the NEA triggers the President’s authority to invoke

existing Acts of Congress that authorize “the exercise, during the period of a national emergency,

of any special or extraordinary power.” 50 U.S.C. § 1621(a); id. § 1631 (“When the President

declares a national emergency, no powers or authorities made available by statute for use in the




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event of an emergency shall be exercised unless and until the President specifies the provisions

of law under which he proposes that he, or other officers will act.”).

       26.     Accordingly, the scope of the President’s emergency powers is limited to

legislative enactments under which Congress has specifically granted those powers in advance.

       27.     An emergency proclamation “shall immediately be transmitted to the Congress

and published in the Federal Register.” Id. § 1621(a).

       28.     The NEA does not define the term “emergency.”

       29.     The common usage of the term “emergency” involves an element of suddenness

and unexpectedness. Merriam-Webster, for example, states that an emergency is “an unforeseen

combination of circumstances or the resulting state that calls for immediate action.” Similarly,

Black’s Law Dictionary defines the word as a “sudden, unexpected, or impending situation.”

       30.     NEA’s legislative history shows that the emergency power conferred by Congress

is not boundless. In testimony before the Committee on Government Operations on February 25,

1976, co-sponsor Senator Frank Church stated that “Congress should be forewarned that it is

inherent in the nature of modern government that the Executive will seek to enlarge its power in

small ways and large,” and advised that the president “should not be allowed to invoke

emergency authorities or in any way utilize the provision of [the NEA] for frivolous or partisan

matters, nor for that matter in cases where important but not ‘essential’ problems are at stake.”

National Emergency Act: Hearing on H.R. 3884 Before the S. Comm. on Government

Operations, 94th Cong. 7 (1976) (statement of Sen. Frank Church).

       31.     There are currently an estimated 123 statutory authorities that may be invoked by

an emergency proclamation under the NEA. See BRENNAN CENTER FOR JUSTICE, A GUIDE TO

EMERGENCY POWERS AND THEIR USE (Dec. 5, 2018),




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https://www.brennancenter.org/analysis/emergency-powers. These provisions address disparate

issues including public health; land management; military and national defense; federal

employees; asset seizure, control, and transfer; criminal prosecution and detainment powers; and

international relations.

       32.     The NEA has been invoked at least 58 times from 1978-2012. Nearly all of the

declared emergencies (49 instances) relate to sanctions or export restrictions. Four emergencies

relate to weapons proliferation. The remaining five emergencies did not fit into any specific

category and involved the 2009 swine flu outbreak, the September 11 terrorist attacks, vessel

movement near Cuba, rough diamonds from Sierra Leone, and sale of Iraq petroleum.

       33.     None of the 123 emergency statutory authorities that may be invoked under an

NEA proclamation address immigration or border wall construction.

       B.      Title 8 (Immigration), the Immigration and Nationality Act, and the “Mass
               Influx” and “Emergency Situation Refugees” Provisions

       34.     Congress has not established any NEA authorities under Title 8 (Immigration) of

the United States Code.

       35.     The Immigration and Nationality Act (“INA”), 8 U.S.C. § 1101 et seq.,

“established a comprehensive federal statutory scheme for regulation of immigration and

naturalization and set the terms and conditions of admission to the country and subsequent

treatment of aliens lawfully in the country.” Chamber of Commerce v. Whiting, 563 U.S. 582,

587 (2011) (citation and internal quotation marks omitted).

       36.     While the INA does not contain any emergency provision triggered by the NEA,

Congress did specifically consider the urgency of “an actual or imminent mass influx of aliens

arriving off the coast of the United States, or near a land border.” 8 U.S.C. § 1103(a)(10). In

such a circumstance, the INA does not contemplate a military response, but instead authorizes



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the Attorney General to deputize any State or local law enforcement officer with the authority to

perform federal immigration duties.

       37.     The INA also addresses emergency refugee situations. Id. § 1157. In such a

circumstance, the INA again does not contemplate a military response, but instead allows the

President to grant admissions beyond the maximum established by Congress in order to address

humanitarian concerns, and directs the President to consult with Congress and the Cabinet.

       C.      DHS’s Statutory Responsibility for Border Security and Border Fencing

       38.     The Department of Homeland Security (“DHS”) and its component agency CBP

are domestic agencies charged with preventing the entry of terrorists, securing the borders, and

carrying out immigration functions. Within CBP, the U.S. Border Patrol’s mission is to prevent

illegal entry across approximately 7,000 miles of Mexican and Canadian international borders

and 2,000 miles of coastal borders surrounding Florida and Puerto Rico.

       39.     Beginning with enactment of the Illegal Immigration Reform and Immigrant

Responsibility Act of 1996 (“IIRIRA”), Pub. L. No. 104-208, 110 Stat. 3009-546 (8 U.S.C.

§ 1103 note), Congress has periodically directed DHS to build fencing on the southern border.

       40.     As originally enacted, section 102(b) of IIRIRA required the completion of a

triple-layer fence along a 14-mile stretch of border fencing in the San Diego sector where

construction had begun in the early 1990s.

       41.     The Secure Fence Act of 2006, Pub. L. No. 109-367, 120 Stat. 2638, amended

section 102(b) of IIRIRA to require DHS to construct at least two layers of reinforced fencing as

well as physical barriers, roads, lighting, cameras, and sensors on five specific sections of the

southern border totaling approximately 850 miles.

       42.     Shortly thereafter, the Consolidated Appropriations Act, 2008, Pub. L. No. 110-




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161, 121 Stat. 1844, 2090 (2007) again amended section 102(b) of IIRIRA by removing the

specific location and double-layer fencing requirements, and instead directing DHS to construct

not less than 700 miles of reinforced fencing where fencing would be most practical and

effective.

       D.      Military Support for Civilian Law Enforcement Agencies (Title 10,
               Chapter 15)

       43.     The principle that the military cannot act as a domestic police force is deeply

rooted in U.S. history and law. Under the Posse Comitatus Act, 18 U.S.C. § 1385, enacted in

1878, the use of “any part of the Army or Air Force as a posse comitatus” (i.e., deputized by

civilian law enforcement officials to carry out the law) is unlawful, “except in cases of and under

circumstances expressly authorized by the Constitution or Act of Congress.” The law’s reach

was subsequently extended to the Marines and Navy.

       44.     Beginning in the early 1980s, Congress passed several Defense Authorization

Acts that relaxed Posse Comitatus Act prohibitions by authorizing the use of military in specified

domestic law enforcement activities. These provisions are codified under a new chapter of the

U.S. Code (Title 10, Chapter 15, “Military Support for Civilian Law Enforcement Agencies”).

       45.     Under Chapter 15, Congress has not given the military emergency authority to

assist in border wall construction or any other border security or immigration related task.

       46.     Chapter 15 authorizes the military to support civilian law enforcement officials in

a non-emergency situation by, among other actions, sharing information, 10 U.S.C. § 271;

allowing use of military equipment and facilities, id. § 272; providing training and advice, id.

§ 273; and maintaining and operating equipment, id. § 274.

       47.     Congress has specifically limited the military’s support of domestic law

enforcement agencies in emergencies to circumstances involving weapons of mass destruction,



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id. § 282, and “situations involving bombings of places of public use, Government facilities,

public transportation systems, and infrastructure facilities.” Id. § 283(a). These emergency

support provisions are subject to detailed procedures, and they are limited to situations that (1)

pose a serious threat to the interests of the United States and (2) involve violence causing or

imminently threatening significant loss of civilian lives.

          E.    10 U.S.C. § 284

          48.   The non-emergency military support authorized under Chapter 15 includes

various types of support for counterdrug activities and activities to counter transnational

organized crime, including the “[c]onstruction of roads and fences and installation of lighting to

block drug smuggling corridors across international boundaries of the United States.” 10 U.S.C.

§ 284(b)(7). In addition, section 284 separately authorizes “unspecified minor military

construction project[s],” but limits the cost of any such project to $750,000. Id. § 284(b)(4),

(i)(3).

          49.   The Defense Secretary must provide the appropriate committees of Congress with

a detailed written and electronic notice of any proposed support under section 284 to civilian law

enforcement agencies at least 15 days prior to providing such support. Id. § 284(h)(1).

          50.   Congress most recently appropriated $517,171,000 for counter-narcotics support

as part of the drug interdiction and counter-drug activities account. Department of Defense and

Labor, Health and Human Services, and Education Appropriations Act, 2019 and Continuing

Appropriations Act, 2019, Pub. L. No. 115-245, Title VI (“Defense FY19 Appropriations”).

          51.    On information and belief, more than 90 percent of the fiscal year 2019 drug

counterdrug account appropriations have been obligated, leaving approximately $80 million.




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       52.     The counterdrug account will be used to hold funds transferred from other DoD

accounts up to a total of $2.5 billion, while the Army Corps of Engineers will have authority to

obligate the funds out of the account in order to execute border wall construction projects.

       F.      Military Construction (Title 10, Chapter 169)

       53.     Military construction (“MILCON”) appropriations enable “the Secretary of

Defense and the Secretaries of the Army, Air Force, and Navy to plan, program, design, and

build the runways, piers, warehouses, barracks, schools, hospitals, child development centers,

and other facilities needed to support U.S. military forces at home and abroad.” LYNN M.

WILLIAMS, CONGRESSIONAL RESEARCH SERVICE, MILITARY CONSTRUCTION: PROCESS,

OUTCOMES, AND FREQUENTLY ASKED QUESTIONS (May 16, 2018).

       54.     The Trump administration previously objected that the Defense FY19

Appropriations Act, signed into law September 2018, provided $8.1 billion for military

construction rather than the $8.9 billion the administration requested. See Letter from Mick

Mulvaney, Director, Office of Management and Budget, to Sen. Richard Shelby, Chair, Senate

Comm. on Appropriations (July 18, 2018) (“By incrementally funding, rather than fully funding,

military construction projects, the bill delays critical resources to complete high-priority projects

initiated in 2019 and puts the burden on future budgets to make up the difference.”).

       55.     Congress has provided for an NEA emergency for military construction projects

pursuant to 10 U.S.C. § 2808(a), which provides:

       In the event of a proclamation of war or the proclamation by the President of a
       national emergency in accordance with the National Emergencies Act (50 U.S.C.
       1601 et seq.) that requires use of the armed forces, the Secretary of Defense,
       without regard to any other provision of law, may undertake military construction
       projects, and may authorize the Secretaries of the military departments to
       undertake military construction projects, not otherwise authorized by law that are
       necessary to support such use of the armed forces. Such projects may be
       undertaken only within the total amount of funds that have been appropriated for



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       military construction, including funds appropriated for family housing, that have
       not been obligated.

       56.      Military construction activities have no relation to border wall construction and

other support of DHS and other civilian law enforcement agencies, which are addressed under

Title 10, Chapter 15, and thus the emergency provision is not available to border wall

construction.

       G.       Department of Defense Fiscal Year 2019 Authorizations and Appropriations

       57.      The John S. McCain National Defense Authorization Act for Fiscal Year 2019,

Pub. L. No. 115-232 (“Defense FY19 Authorizations”), includes authorizations for both the DoD

generally (Division A) and MILCON (Division B) specifically. However, Congress addresses

the two in separate appropriations bills. Defense FY19 Appropriations; Energy and Water,

Legislative Branch, and Military Construction and Veterans Affairs Appropriations Act, 2019,

Pub. L. No. 115-244 (“MILCON FY19 Appropriations Act”).

       58.      The Defense FY19 Authorizations Act includes a general transfer authority, under

which the Defense Secretary may “transfer amounts of authorizations made available to the

Department of Defense . . . for fiscal year 2019 between any such authorizations for that fiscal

year (or any subdivisions thereof)” upon a determination that such transfer is in the national

interest. Defense FY19 Authorizations § 1001(a)(1); Defense FY19 Appropriations § 8005.

Except for transfers between military personnel, “the total amount of authorizations that the

Secretary may transfer under the authority of this section may not exceed $4,500,000,000.”

Defense FY19 Authorizations § 1001(a)(2); Defense FY19 Appropriations § 8005 (limiting

general transfer authority to $4,000,000,000).

       59.      The Defense Secretary’s general transfer authority is not available for MILCON

funds and is further subject to two limitations: general transfer authority funds (1) “may only be



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used to provide authority for items that have a higher priority than the items from which

authority is transferred”; and (2) “may not be used to provide authority for an item that has been

denied authorization by Congress.” Defense FY19 Authorizations § 1001(b)(1)-(2); Defense

FY19 Appropriations § 8005.

       60.     “None of the funds available to the Department of Defense for any fiscal year for

drug interdiction or counter-drug activities may be transferred to any other department or agency

of the United States except as specifically provided in an appropriations law.” Defense FY19

Appropriations § 8045(a).

       61.     “None of the funds made available [under the FY19 Appropriations Act] or any

other Act may be used to pay the salary of any officer or employee of any agency funded by this

Act who approves or implements the transfer of administrative responsibilities or budgetary

resources of any program, project, or activity financed by this Act to the jurisdiction of another

Federal agency not financed by this Act without express authorization of Congress . . . .”

Defense FY19 Appropriations § 8113.

       H.      2019 Consolidated Appropriations Act

       62.     The 2019 Consolidated Appropriations Act appropriates $1.375 billion to DHS

“for the construction of primary pedestrian fencing, including levee pedestrian fencing, in the

Rio Grande Valley Sector.” Pub. L. No. 116-6; H.R.J. Res. 31, 116th Cong. § 230(a)(1)

(enacted).

       63.     In addition to specifically rejecting the President’s budget request for $5.7 billion

in border wall funding, Congress put specific limits on the funds it did appropriate under the

2019 Consolidated Appropriations Act.




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       64.     Congress limited border wall appropriations to construction in the Rio Grande

Valley, and further, directed that “[n]one of the funds made available by this Act or prior Acts

are available for construction of pedestrian fencing—(1) within the Santa Ana National Wildlife

Refuge; (2) within the Bentsen-Rio Grande Valley State Park; (3) within La Lomita Historical

park; (4) within the National Butterfly Center; or (5) within or east of the Vista del Mar Ranch

tract of the Lower Rio Grande Valley National Wildlife Refuge.” Id. § 231.

       65.     The 2019 Consolidated Appropriations Act also requires DHS to “confer and seek

to reach mutual agreement regarding the design and alignment of physical barriers” within the

cities of Roma, Rio Grande City, Escobares, and La Gruilla, Texas, as well as the unincorporated

community of Salineno, Texas. In addition, DHS is required to provide a public notice and

comment period on proposed border wall construction within these areas, and to publish its

response to such comments in the Federal Register. Id. § 232.

       66.     The 2019 Consolidated Appropriations Act provides that “[n]one of the funds

made available in this or any other appropriations Act may be used to increase . . . funding for a

program, project, or activity as proposed in the President’s budget request for a fiscal year until

such proposed change is subsequently enacted in an appropriation Act, or unless such change is

made pursuant to the reprogramming or transfer provisions of this or any other appropriations

Act.” Id. § 739.

       I.      National Environmental Policy Act

       67.     NEPA is the “basic national charter for protection of the environment.” 40 C.F.R.

§ 1500.1(a). It was enacted with the ambitious objectives of “encouraging productive and

enjoyable harmony between man and his environment . . . promoting efforts which will prevent

or eliminate damage to the environment and biosphere and stimulating the health and welfare of




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man; and enriching the understanding of the ecological systems and natural resources important

to the Nation . . . .” 42 U.S.C. § 4321.

       68.       In order to achieve these goals, NEPA contains several “action forcing”

procedures, most significantly the mandate to prepare an environmental impact statement

(“EIS”) on major Federal actions “significantly affecting the quality of the human environment.”

Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 348 (1989); 42 U.S.C.

§ 4332(2)(C).

       69.      The preparation and public circulation of EISs and other NEPA analyses

promotes the statute’s broad environmental objectives in two primary ways: “It ensures that the

agency, in reaching its decision, will have available, and will carefully consider, detailed

information concerning significant environmental impacts; it also guarantees that the relevant

information will be made available to the larger audience that may also play a role in both the

decision-making process and the implementation of that decision.” Methow Valley Citizens

Council, 490 U.S. at 349.

       70.      NEPA requires that “agencies shall integrate the NEPA process with other

planning at the earliest possible time to insure that planning and decisions reflect environmental

values, to avoid delays later in the process, and to head off potential conflicts.” 40 C.F.R.

§ 1501.2; id. § 1502.5 (“An agency shall commence preparation of an [EIS] as close as possible

to the time the agency is developing or is presented with a proposal . . . .”).

       71.      The Council on Environmental Quality (“CEQ”) was created to administer NEPA

and has promulgated NEPA regulations, which are binding on all federal agencies. See

42 U.S.C. §§ 4342, 4344; 40 C.F.R. §§ 1500–1508.




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       72.     NEPA regulations mandate disclosure and consideration of direct, indirect, and

cumulative environmental effects, with the underlying purpose of ensuring that the agency has

taken a “hard look” at the environmental impacts of proposed actions. 40 C.F.R. §§ 1502.16,

1508.7, 1508.8, 1508.27(b)(7).

       73.     If more than one Federal agency “[p]roposes or is involved in the same action,” or

“[i]s involved in a group of actions directly related to each other because of their functional

interdependence or geographical proximity,” then a “lead agency shall supervise the preparation

of an environmental impact statement.” Id. § 1501.5(a)(2).

       74.     The “potential lead agencies shall determine by letter or memorandum which

agency shall be lead agency” and “shall resolve the lead agency question so as not to cause

delay.” Id. § 1501.5(c). In the event of disagreement among the agencies, a multi-factor test

determines lead agency designation. Id. § 1501.5(c)(1)-(5) (in descending order, factors to

consider are magnitude of agency’s involvement, project approval/disapproval authority,

expertise concerning the action’s environmental effects, duration of agency’s involvement, and

sequence of agency’s involvement).

       75.     The lead NEPA agency “shall request the participation of each cooperating

agency in the NEPA process at the earliest possible time.” Id. § 1501.6(a)(1). Conversely, each

cooperating agency “shall participate in the NEPA process at the earliest possible time.” Id.

§ 1501.6(b)(1).

                            CONSTITUTIONAL BACKGROUND

       A.      The Appropriations Clause

       76.     The U.S. Constitution provides that “no Money shall be drawn from the Treasury,

but in Consequence of Appropriations made by Law.” U.S. CONST. art. I, § 9, cl. 7.




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       77.     The Appropriations Clause plays a critical role in the Constitution’s separation of

powers among the three branches of government and the checks and balances between them.

       78.     The Clause has a “fundamental and comprehensive purpose . . . to assure that

public funds will be spent according to the letter of the difficult judgments reached by Congress

as to the common good, and not according to the individual favor of Government agents . . . .”

Office of Pers. Mgmt. v. Richmond, 496 U.S. 414, 427-28 (1990); id. at 427 (without the

Appropriations Clause, “the executive would possess an unbounded power over the public purse

of the nation; and might apply all its moneyed resources at his pleasure.” (quoting 2 J. STORY,

COMMENTARIES ON THE CONSTITUTION OF THE UNITED STATES § 1348 (3d ed. 1858))).

       79.     If a Court finds that the executive branch is spending money in violation of a

spending provision, “it would be drawing funds from the Treasury without authorization by

statute and thus violating the Appropriations Clause.” United States v. McIntosh, 833 F.3d 1163,

1175 (9th Cir. 2016).

       B.      Take Care Clause

       80.     The President “shall take Care that the Laws be faithfully executed . . . .”

U.S. CONST. art. II, § 3.

       81.     The Take Care Clause places an obligation on the President and those under his

supervision to comply with and execute clear statutory directives as enacted by Congress.

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587 (1952) (“[T]he President’s power to

see that the laws are faithfully executed refutes the idea that he is to be a lawmaker. The

Constitution limits his functions in the lawmaking process to the recommending of laws he

thinks wise and the vetoing of laws he thinks bad.”).




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          82.      Under the Take Care Clause, the President and his subordinates may not create

law by disregarding or repealing a validly enacted statute. See Clinton v. City of New York, 524

U.S. 417, 438 (1998) (“There is no provision in the Constitution that authorizes the President to

enact, to amend, or the repeal statutes.”).

                                       FACTUAL ALLEGATIONS

          83.      On June 16, 2015, in a campaign announcement speech, then Mr. Donald Trump

stated:

          I would build a great wall. And nobody builds walls better than me, believe me.
          And I’ll build them very inexpensively. I will build a great great wall on our
          southern border and I’ll have Mexico pay for that wall.

          84.      On January 25, 2019, at the end of the longest government shutdown, President

Trump stated:

          We really have no choice but to build a powerful wall or steel barrier. If we don’t
          get a fair deal from Congress, the government will either shut down on February
          15 again or I will use the powers afforded to me under the laws and the
          Constitution of the United States to address this emergency.

          85.      On February 15, 2019, in announcing the issuance of an emergency proclamation,

President Trump said:

                So we have a chance at getting close to $8 billion—whether it’s $8 billion
                or $2 billion or $1.5 billion, it’s going to build a lot of wall. We’re getting
                it done.

          A.       The February 15, 2019 Emergency Proclamation and Administration
                   Statement Identifying $6.7 Billion for Transfer to Border Wall Construction

          86.      On February 15, 2019, President Trump issued a “Presidential Proclamation on

Declaring a National Emergency Concerning the Southern Border of the United States.”

          87.      The proclamation declares the “current situation at the southern border”—

including “large-scale unlawful migration” and “sharp increases in the number of family units




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entering and seeking entry to the United States”—as a “national emergency.” It further states that

“[b]ecause of the gravity of the current emergency situation, it is necessary for the Armed

Services to provide additional support to address the crisis.”

       88.     Relying on the NEA, the proclamation invokes the emergency military

construction authority provided under 10 U.S.C. § 2808 (“the construction authority provided in

section 2808 of title 10, United States Code, is invoked and made available, according to its

terms, to the Secretary of Defense and, at the discretion of the Secretary of Defense, to the

Secretaries of the military departments.”).

       89.     Section 2 of the proclamation directs that the Defense Secretary (as well as the

DHS Secretary and Secretary of the Interior) “shall take all appropriate actions, consistent with

applicable law, to use or support the use of the authorities herein invoked, including, if

necessary, the transfer and jurisdiction over border lands.”

       90.     According to the administration, the emergency proclamation makes $3.6 billion

available from funds that have been appropriated to military construction projects. See Fact

Sheet, Border Security Victory.

       91.     In addition to the emergency proclamation, the administration also identified

approximately $3.1 billion in non-emergency funds that have been appropriated by Congress to

other purposes to instead be directed to border wall construction, including $601 million from

the Treasury Forfeiture Fund and $2.5 billion from the counterdrug account. Id.

       B.      The Nation’s Longest Government Shutdown, and the President’s Abuse of
               the National Emergencies Act as a Negotiating Tactic

       92.     President Trump first publicly threatened to issue an emergency proclamation on

January 4, 2019, two weeks into the nation’s longest federal shutdown, which began at midnight

on December 21, 2018, and continued until January 25, 2019.



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       93.     The shutdown was the culmination of months of disagreement between the

President and Congress over the administration’s $5.7 billion demand for a border wall, and it

was the central dispute in the final, “lame duck” days of the 115th Congress.

       94.     On December 11, 2018, President Trump met with House Minority Leader

(Speaker to be) Nancy Pelosi and Senate Minority Leader Chuck Schumer, and on live television

proclaimed, “I am proud to shut down the government for border security. I will take the mantle.

I will be the one to shut it down.” The President had made numerous earlier statements

suggesting he would relish shutting down the government if Congress did not provide all of the

requested border wall funding. See, e.g., July 30, 2018 (“I have no problem doing a shutdown”);

September 12, 2018 (“If it happens, it happens”).

       95.     On December 19, 2018, the Senate passed a continuing resolution providing

funding to DHS and other agencies (Agriculture, Commerce, Justice, the Interior, State,

Transportation, and Housing and Urban Development) until February 8, 2019, without border

wall funding and with the understanding that President Trump supported the bill.

       96.     On December 20, 2018 (one day before government funding for DHS and the

other agencies lapsed), after conservative TV pundits and the House Freedom Caucus criticized

President Trump, the President flipped his position and announced he would not sign the Senate

bill because it did not have any border wall funding. That afternoon, House Republicans passed

a continuing resolution with $5.7 billion in border wall funds.

       97.     On December 21, 2018, President Trump encouraged Senator McConnell to

abolish the filibuster in order to pass the $5.7 billion spending bill in the Senate. Acknowledging

that this would not occur, President Trump mused that there was a “very good” chance of a




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government shutdown and that it could last a “very long time.” As the President predicted, the

Senate voted down the House version of the bill and the government shut down at midnight.

       98.     Two weeks later, on January 4, 2019, President Trump for the first time publicly

voiced his perceived authority to use the NEA for emergency border wall funding.

       99.     Between that date and the February 15, 2019 emergency proclamation, the

President repeatedly and clearly stated his belief that he could use the NEA as a negotiating

tactic with Congress. During this time, the President also vacillated on his ultimate intention to

declare an emergency.

       100.    On January 9, 2019, President Trump stated that “I have an absolute right to do

national emergency if I want,” and revealed that his “threshold” for invoking the emergency

would be if he “can’t make a deal with people that are unreasonable.”

       101.    On January 10, 2019, the President said that he was “maybe, definitely” planning

on invoking an emergency proclamation to build the border wall. President Trump explained

that working with Democrats in Congress was “ridiculous” and that “[i]f we don’t make a deal, I

would say 100 percent, but I don’t want to say 100 percent,” and that “[i]f we don’t make a deal,

I would say it would be very surprising to me that I would not declare a national emergency and

just fund it through the various mechanisms.”

       102.    On January 11, 2019, the President denied intent to immediately declare an

emergency under the NEA, stating that “what we’re not looking to do right now is national

emergency.”

       103.    On January 25, 2019, President Trump and Congress reached an agreement to end

the 35-day partial federal shutdown, providing funding for DHS and other affected agencies for

three weeks, through February 15, 2019.




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        104.    In his January 25 speech announcing the temporary deal to end the shutdown, the

President again threatened to use the NEA as a negotiating tactic, stating, “[w]e really have no

choice but to build a powerful wall or steel barrier. If we don’t get a fair deal from Congress, the

government will either shut down on February 15 again or I will use the powers afforded to me

under the laws and the Constitution of the United States to address this emergency.”

        105.    On January 29, 2019, Under Secretary of Defense for Policy John Rood testified

to the House Armed Services Committee that if President Trump declared an emergency and

directed the Pentagon to act, the military would build the wall “if we judged it to be a lawful

order. And I assume it would be.”

        106.    On January 31, 2019, President Trump stated that “we’ve set the stage for what’s

going to happen on February 15 [i.e., an emergency proclamation] if a deal is not made.”

        107.    On February 1, 2019, the President stated, “I think there’s a good chance that

we’ll have to do” an emergency proclamation, while noting “tremendous obstruction by

Democrats.”

        108.    The President would continue to threaten to use the NEA until issuing the

emergency proclamation on February 15, 2019. At the press conference on February 15, 2019,

announcing the emergency proclamation, however, the President disclaimed the need to declare

a national emergency, stating, “I could do the wall over a longer period of time—I didn’t need to

do this—but I would rather do it much faster. . . . I just want to get it done faster, that’s all.”

        C.      Congress Provided the Trump Administration with Funding for More
                Than 175 Miles of New or Replacement Border Wall Construction in
                Previous Appropriations Bills, Much of Which Remains Uncompleted

        109.    Congress has provided the Trump administration with nearly $3 billion in funding

for border fence construction, much of which remains uncompleted.




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       110.    In response to the administration’s fiscal year 2017 budget amendment and

request for supplemental appropriations, the Consolidated Appropriations Act, 2017, provided

CBP with $341 million “to replace approximately 40 miles of existing primary pedestrian and

vehicle border along the southwest border, using previously deployed and operationally effective

designs, such as currently deployed steel bollard designs . . . .” Pub. L. No. 115-31, 131 Stat.

135, 434.

       111.    CBP directed those fiscal year 2017 funds to 40 miles of replacement wall

construction in San Diego, El Centro, El Paso, and near Santa Teresa. The construction was

expedited by a waiver of NEPA, the Endangered Species Act (“ESA”), and more than 30

additional laws pursuant to IIRIRA § 102(c). See 82 Fed. Reg. 35,984 (Aug. 2, 2017) (San

Diego); 82 Fed. Reg. 42,829 (Sept. 12, 2017) (El Centro); 83 Fed. Reg. 3012 (Jan. 22, 2018)

(Santa Teresa).

       112.    In March 2018, Congress provided the Trump administration with an additional

$1.34 billion for secondary fencing replacement in the San Diego sector, new primary fencing in

the Rio Grande Valley sector, and replacement of existing pedestrian fencing in any location

along the southwest border. Consolidated Appropriations Act, 2018, Pub. L. No. 115-141, div.

F, tit. II, § 230(a)(1)-(4) (“DHS FY18 Appropriations ”).

       113.    CBP estimates that the DHS FY18 Appropriations will fund approximately 84

miles of border barrier construction.

       114.    DHS issued two waivers under IIRIRA § 102(c) to expedite border wall

construction in the lower Rio Grande Valley sector—in Cameron County, Texas (83 Fed. Reg.

50,949 (Oct. 10, 2018)), and Hidalgo County, Texas (83 Fed. Reg. 51,472 (Oct. 11, 2018))—

waiving NEPA, ESA, and more than 30 additional laws.




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       115.    DHS has issued two contracts to construct new border wall in the Rio Grande

sector using FY 2018 appropriations, both located in Hidalgo County: FY18 RGV-003 (six

miles) and FY18 RGV-02 (five segments, eight miles).

       116.    The construction on these two contracts will be the first commenced of the

estimated 84 miles funded by the DHS FY18 Appropriations.

       D.      Congress Specifically Rejected the Trump Administration’s Border Wall
               Budget Request, While Placing Geographic and Other Restrictions on the
               Money Appropriated

       117.    On February 15, 2019, immediately after issuing the emergency proclamation, the

President signed the 2019 Consolidated Appropriations Act, (H.R.J. Res. 31, Pub. L. No. 116-6),

providing an additional $1.375 billion for border wall construction.

       118.    In enacting the 2019 Consolidated Appropriations Act, Congress specifically

rejected the additional funding President Trump requested for CBP border wall priorities.

       119.    In addition, the 2019 Consolidated Appropriations Act (1) limits border wall

construction to the Rio Grande Valley, § 230; (2) prohibits the funding of border wall

construction in five specified areas, § 231; and (3) requires DHS to consult with local

communities and provide for public notice and comment prior to border wall construction within

five borderland cities in south Texas, § 232.

       E.      Agency Implementing Actions

       120.    On February 25, 2019, DHS wrote to DoD with a “Request for Assistance

Pursuant to 10 U.S.C. § 284.” Memorandum from Christina Bobb, Exec. Sec’y, DHS, to Capt.

Hallock N. Mohler Jr., Exec. Sec’y, DoD. The Memorandum requests that DoD assist in the

implementation of the Trump administration’s border wall project by funding, planning, and

executing the construction of eleven border wall segments (as well as associated roads and




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lighting) totaling approximately 218 miles. All 11 segments are proposed entirely on federal

land in the states of California, Arizona, or New Mexico, including protected areas owned and

administered by the Department of the Interior such as Cabeza Prieta National Wildlife Refuge,

Organ Pipe Cactus National Monument, San Pedro Riparian National Conservation Area, and

San Bernardino National Wildlife Refuge.

       121.    On March 25, 2019, Acting Defense Secretary Shanahan wrote to then DHS

Secretary Nielsen approving the request, and directing the obligation of up to $1 billion from the

counterdrug account for the U.S. Army Corps of Engineers to immediately plan and execute

three border wall segments across 57 miles: Yuma Sector Projects 1 and 2 and El Paso Sector

Project 1.

       122.    Acting Defense Secretary Shanahan’s March 25, 2019 approval letter states that

“[a]s proponent of the requested action, CBP will serve as the lead agency for environmental

compliance.”

       123.    On April 9, 2019, DoD announced that the Army Corps of Engineers had awarded

two contracts totaling $1.178 billion for the construction of Yuma Sector Projects 1 and 2 and El

Paso Sector Project 1.

       124.    More than 90 percent of the fiscal year 2019 appropriations for the counterdrug

account have been obligated, leaving approximately $80 million. Accordingly, the vast majority

of the $2.5 billion to be drawn from this account are being transferred from other DoD

appropriations. The Defense Secretary’s March 25, 2019 authorization of $1 billion for the three

border wall projects is being transferred from funds appropriated to a military personnel account

into the counterdrug account, and then subsequently those funds are being obligated from that

account by Army Corps of Engineers to private contractors.




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       125.    On April 11, 2019, Acting Defense Secretary Shanahan issued a memorandum for

the Under Secretary of Defense (Comptroller)/Chief Financial Officer, directing the Comptroller

to identify, by May 10, 2019, existing military construction projects of sufficient value to

provide up to $3.6 billion to transfer for border wall construction pursuant to 10 U.S.C.

§ 2808. The Acting Secretary’s memorandum excludes family housing, barracks, or dormitory

projects; projects that have already been awarded; and projects that have fiscal year 2019 award

dates. The memorandum directs the Comptroller to be prepared to make the identified funds

available if the Acting Secretary determines that military construction funds are necessary to

address the proclaimed national emergency.

       F.      Defendants’ Actions Will Have Significant Environmental Impacts

       126.    The Trump administration previously explained that its $5.7 billion request for

border wall construction will “fund construction of a total of approximately 234 miles of new

physical barrier and fully fund the top 10 priorities in CBP’s Border Security Improvement

Plan.” See Letter from Russell T. Vought, Acting Director, OMB, to Sen. Richard Shelby,

Chairman, Sen. Appropriations Comm. (Jan. 6, 2019).

       127.    The administration’s “highest priority border wall miles” total 215 miles. See

Press Release, DHS, Walls Work (Dec. 12, 2018). Border Patrol has broken down the 215 miles

by sector. These highest priority areas are the San Diego sector (5 miles); El Centro sector (14

miles); Yuma sector (27 miles); El Paso sector (9 miles); Laredo sector (55 miles); and Rio

Grande Valley sector (104 miles).

       128.    CBP has not clarified what, if any, overlap exists between the miles of border wall

already funded and the 215 miles of “highest priority border wall.” However, new border wall

mileage under the DHS FY 18 Appropriations and 2019 Consolidated Appropriations Act is




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limited to the Rio Grande Valley sector; thus, all of the construction within “highest priority

areas” in the San Diego, El Centro, Yuma, El Paso, and Laredo sectors would not occur but for

the unlawful appropriations transfers and obligations.

       129.    DHS’s February 25, 2019 request for DoD assistance proposes projects in

addition to CBP’s previously identified “highest priority border wall” segments, including

projects within the Tucson sector that would not occur but for the unlawful appropriations

transfers and obligations.

       130.    If carried out, the border wall construction funded by the emergency

proclamation, and the Defense Secretary’s and Army Corps of Engineers’ implementing actions

to identify, transfer, and obligate appropriated funds to border wall construction, would directly

harm Plaintiffs and their members. The environmental harm from this construction includes

adverse impacts to: (1) threatened and endangered species listed under the Endangered Species

Act, as well as their designated critical habitat; (2) lands under federal jurisdiction, including

National Parks; National Forests; National Wildlife Refuges, National Monuments, and other

lands within the National Landscape Conservation System (administered by the Bureau of Land

Management); Wilderness areas; Wild and Scenic Rivers; and other areas of high environmental

value; and (3) waters of the United States protected by the Clean Water Act.

       131.    Of particular concern to Plaintiffs’ core organizational interests is the fact that the

unlawful identification, transfer, and obligation of appropriated funds for border wall

construction would sever wildlife connectivity and cross-border movement between wildlife

populations on either side of the U.S.-Mexico border. Every endangered jaguar seen in the

United States during the species’ nascent recovery in the past two decades, for example, was

born in Mexico.




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         132.   Given that approximately 700 miles of the southern border already has some form

of fencing or “vehicle barriers” (passable to wildlife) on it, the cumulative and irreversible

impact of additional border fencing on wildlife populations becomes ever greater with each

additional mile of border wall constructed. Under the February 25, 2019 DHS request for DoD

assistance, the transfer and obligation of appropriated funds will result in border wall

construction within areas that currently contain vehicle barriers on protected federal lands in

Arizona and New Mexico, including Cabeza Prieta National Wildlife Refuge, Organ Pipe Cactus

National Monument, Coronado National Forest, San Pedro Riparian National Conservation Area,

and San Bernardino National Wildlife Refuge. These protected lands contain essential habitat

corridors and connectivity for endangered species with populations on both sides of the border,

including jaguars. These corridors and connectivity will be served by the conversion of vehicle

barriers to border wall.

         133.   The unlawful transfer and obligation of appropriated funds to border wall

construction in the San Diego sector, which spans from the Pacific Ocean eastward to the

Imperial County line, will harm Plaintiffs and their members. The San Diego sector is already

heavily fortified, with primary fencing covering 46 of 60 miles, 30 percent of the miles of all

secondary and tertiary fencing along the southwest border, and more than 300 miles of patrol

roads.

         134.   The remaining unfenced areas within the San Diego sector are of high

environmental value, and are generally mountainous and rugged, including unfenced areas

within the San Ysidro Mountains and the complex geography of southeastern San Diego County.

This includes two major tributaries of the Tijuana River (Cottonwood Creek and Tecate Creek)




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and designated critical habitat under the Endangered Species Act for the coastal California

gnatcatcher, Quino checkerspot butterfly, and Arroyo toad.

       135.    The unlawful transfer and obligation of appropriated funds to border wall

construction in the El Centro sector, which spans from the Jacumba Mountains in the west to the

Imperial Sand Dunes in the east, will harm Plaintiffs and their members. The El Centro sector is

already heavily fortified, with primary fencing or vehicle barriers covering 59 of its 70 miles,

and 214 miles of patrol roads.

       136.    The areas within the El Centro sector that remain unfenced and/or have vehicle

barriers passable to wildlife, are of high environmental value. The largest unfenced area is in

highly rugged and mountainous terrain within the Jacumba Mountains and their sheer eastern

escarpment. This area is designated critical habitat for the peninsular bighorn sheep pursuant to

the Endangered Species Act.

       137.    The unlawful transfer and obligation of appropriated funds to border wall

construction in the Yuma sector, which spans from the Imperial Sand Dunes east to the Yuma-

Pima County line in Arizona, will harm Plaintiffs and their members. The Yuma sector is

already heavily fortified, with primary fencing or vehicle barriers covering 107 of 126 miles, as

well as 209 miles of patrol roads.

       138.    The areas within the Yuma sector which remain unfenced and/or have vehicle

barriers passable to wildlife, are of high environmental value, and located within the Barry M.

Goldwater Air Force Range and Cabeza Prieta National Wildlife Refuge. The area includes

essential habitat for endangered species, including the Sonoran pronghorn.

       139.    The unlawful transfer and obligation of appropriated funds to border wall

construction in the Tucson sector, which spans from the Yuma-Pima County line in Arizona to




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the state’s boundary with New Mexico, will harm Plaintiffs and their members. The Tucson

sector is already heavily fortified, with primary fencing or vehicle barriers covering 211 of 262

miles.

         140.   The areas within the Tucson sector that remain unfenced and/or have vehicle

barriers passable to wildlife, are of high environmental value, including lands within Organ Pipe

Cactus National Monument, Coronado National Forest, San Pedro Riparian National

Conservation Area, and San Bernardino National Wildlife Refuge. The areas include designated

critical habitat for endangered species, including the jaguar.

         141.   The unlawful transfer and obligation of appropriated funds to border wall

construction in the El Paso sector, which includes the entire border of New Mexico with Mexico

as well as two counties in far western Texas, harms Plaintiffs and their members. The El Paso

sector is already heavily fortified, with primary fencing covering 166 of 180 miles, as well as

465 miles of patrol roads.

         142.   The areas within the El Paso sector that remain unfenced and/or have vehicle

barriers passable to wildlife, are of high environmental value, including large sections of the

remote New Mexico “bootheel.” This area contains designated critical habitat for jaguars and

Chiricahua leopard frogs, and is renowned for its non-endangered wildlife including mule deer,

mountain lions, antelope, and bison.

         143.   The unlawful transfer and obligation of appropriated fund to border wall

construction in the Laredo sector, which spans from Webb County, Texas, to Zapata County,

Texas, harms Plaintiffs and their members. The Laredo sector is lightly fortified, with primary

fencing covering 1 of 171 miles, and 144 miles of patrol roads.




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        144.    The Laredo sector is of high environmental value, and like the entire southern

Texas border, its international border is defined by the Rio Grande River.

        145.    The unlawful transfer and obligation of appropriated funds to as much as 104

miles of border wall construction in the Rio Grande Valley sector, though some of this mileage

may overlap with border wall construction that was already been funded in prior appropriations

bills, will harm Plaintiffs and their members. The Rio Grande Valley sector, which encompasses

the Lower Rio Grande Valley, is heavily fortified in some areas, with primary fencing covering

55 of 316 river miles and 716 miles of patrol roads.

        146.    The Lower Rio Grande Valley is one of the most biologically diverse areas in

North America and is particularly crucial for migratory birds. The remaining unfenced areas in

the Rio Grande Valley sector are of high environmental value and include protected federal lands

like the Lower Rio Grande Valley National Wildlife Refuge and Santa Ana National Wildlife

Refuge, as well as essential habitat for endangered species such as ocelots.

                                      CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF
                               Unlawful Proclamation of Emergency

                            Violation of the National Emergencies Act

        147.    Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

        148.    Plaintiffs have a non-statutory right of action to enjoin and declare unlawful

Presidential action that is ultra vires.

        149.    The President’s own statements and the totality of surrounding circumstances

show that the President abused the authority granted to him to issue proclamations under the

NEA, by unlawfully using that authority as a political negotiating tactic.




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       150.      Even if the President’s use of his proclamation as a negotiating tactic was lawful

under the NEA, 10 U.S.C. § 2808 cannot be lawfully invoked to justify the emergency transfer of

appropriated military construction funds to border wall construction.

       151.      A proclamation issued under the NEA triggers the President’s authority to invoke

existing Acts of Congress that authorize “the exercise, during the period of a national emergency,

of any special or extraordinary power.” 50 U.S.C. § 1621(a); id. § 1631 (“When the President

declares a national emergency, no powers or authorities made available by statute for use in the

event of an emergency shall be exercised unless and until the President specifies the provisions

of law under which he proposes that he, or other officers will act.”).

       152.      Accordingly, the scope of the President’s emergency powers is limited to

legislative enactments under which Congress has specifically granted those powers in advance.

       153.      10 U.S.C. § 2808 does not provide authority to conduct an emergency transfer of

appropriated military construction funds to border wall construction, and therefore the

proclamation’s reliance on that provision is unlawful.

       154.      Plaintiffs and their members will suffer irreparable injury if the emergency

proclamation is not declared unlawful. Plaintiffs and their members have no other adequate

remedy at law.

                              SECOND CLAIM FOR RELIEF
              Unlawful Transfer of Funds Appropriated to Military Construction

          Violation of 10 U.S.C. § 2808 and 2019 Consolidated Appropriations Act

       155.      Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

       156.      The APA requires courts to hold unlawful and set aside any agency action that is

“(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; (B)




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contrary to constitutional right, power, privilege, or immunity; [or] (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2).

        157.    The Defense Secretary’s and Army Corps of Engineers’ implementing actions to

identify, transfer, and obligate funds appropriated for military construction to border wall

construction are arbitrary, capricious, an abuse of discretion, and not in accordance with law, in

contravention of the APA standards of review.

        158.    By its plain language, 10 U.S.C. § 2808 does not provide an emergency source of

funding for border wall construction. 10 U.S.C. § 2801(a) defines the term “military

construction” as including “any construction, development, conversion, or extension or any kind

carried out with respect to a military installation … or any acquisition of land or construction of

a defense access road.” In turn, “military installation” means a “base, camp, post, station, yard,

center, or other activity under the jurisdiction of the Secretary of a military department . . . .”

(emphasis added). The vast majority, if not all, of the border wall construction that the

proclamation would fund occurs on lands that do not constitute a military installation, and in any

event, the border wall is not a military construction project and thus is not lawfully eligible for

emergency military construction transferred appropriations.

        159.    In addition, the military construction authority is limited to emergencies “that

require[ ] use of the armed forces,” and “that are necessary to support such use of the armed

forces.” 10 U.S.C. § 2801(a). The dispute over border wall funding hardly qualifies as an

emergency requiring use of the armed services, and in no way supports the armed forces. The

emergency proclamation would in fact turn this requirement on its head by using the armed

forces to engage on a domestic issue due to the President’s failure to achieve his policy goals

through the legislative and constitutional framework of the appropriations process.




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        160.    The broader context of Title 10 also demonstrates that military construction funds

may not be directed to border wall construction. Title 10, Chapter 15 (Military Support for

Civilian Law Enforcement Agencies) is a relatively new addition to the Armed Forces code

addressing the specific circumstances and conditions under which the military may support

domestic law enforcement agencies. Chapter 15 represents a departure from longstanding

separation of military and domestic law enforcement functions, and thus its exceptions must be

read narrowly and exclusively. The proclamation unlawfully provides for an emergency

involving military support to domestic law enforcement agencies that has not been previously

authorized by Congress.

        161.    The NEA only provides Presidential authority to invoke provisions under which

Congress has previously considered and addressed the specific emergency at hand. Under

Chapter 15, Congress has directly spoken to the circumstances in which the military may be

called upon to support civilian law enforcement agencies, and it limited those circumstances to

emergency situations involving weapons of mass destruction, id. § 282, and situations involving

bombings of places of public use, government facilities, public transportation systems, and

infrastructure facilities. Id. § 283.

        162.    In addition, Congress has not enacted any NEA emergency provisions under the

Immigration Law Code (Title 8). Congress has, however, specifically considered the urgency of

“an actual or imminent mass influx of aliens arriving off the coast of the United States, or near a

land border,” and it did not contemplate the involvement of the military in those situations, but

instead focused on cooperation with local law enforcement officials—allowing the Attorney

General to authorize any State or local law enforcement officer to perform federal immigration

duties. 8 U.S.C. § 1103(a)(10).




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       163.     The President’s invocation of 10 U.S.C. § 2808 is unlawful under the plain

language of that provision, and broader statutory structure of the military and immigration codes,

as is the Defense Secretary’s and Army Corps of Engineers’ implementing actions to identify,

transfer, and obligate emergency funds from military construction housing to border wall

construction.

       164.     The Defense Secretary’s and Army Corps of Engineers’ implementing actions to

identify, transfer, and obligate up to $3.6 billion of appropriated military construction funds to

border wall construction violates the 2019 Consolidated Appropriations Act, by exceeding and

falling outside of the Act’s monetary and geographic limitations, respectively, on border wall

funding. § 230(a).

       165.     The President’s invocation of 10 U.S.C. § 2808, and the Defense Secretary’s and

Army Corps of Engineers’ implementing actions to identify, transfer, and obligate funds

appropriated for military construction to border wall construction, violate the 2019 Consolidated

Appropriations Act prohibition that “[n]one of the funds made available in this or any other

appropriations Act may be used to increase . . . funding for a program, project, or activity as

proposed in the President’s budget request for a fiscal year until such proposed change is

subsequently enacted in an appropriation Act, or unless such change is made pursuant to the

reprogramming or transfer provisions of this or any other appropriations Act.” 2019

Consolidated Appropriations Act, § 739.

       166.     Plaintiffs and their members will suffer irreparable injury if the President’s

invocation of 10 U.S.C. § 2808, and the Defense Secretary’s and Army Corps of Engineers’

implementing actions to identify, transfer, and obligate funds appropriated for military




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construction to border wall construction, are not declared unlawful. Plaintiffs and their members

have no other adequate remedy at law.

                              THIRD CLAIM FOR RELIEF
           (IN THE ALTERNATIVE TO THE SECOND CLAIM FOR RELIEF)
             Unlawful Transfer of Funds Appropriated to Military Construction

          Violation of 10 U.S.C. § 2808 and 2019 Consolidated Appropriations Act

       167.    Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

       168.    In the event the Court finds that the Defense Secretary’s and Army Corps of

Engineers’ implementing actions are not subject to APA review, Plaintiffs have a non-statutory

right of action to enjoin and declare those actions as ultra vires.

       169.    For the same reasons described in the Second Claim for Relief, the Defense

Secretary’s and Army Corps of Engineers’ implementing actions to identify, transfer, and

obligate funds appropriated for military construction to border wall construction is unlawful.

       170.    Plaintiffs and their members will suffer irreparable injury if the President’s

invocation of 10 U.S.C. § 2808, and the Defense Secretary’s and Army Corps of Engineers’

implementing actions to identify, transfer, and obligate funds appropriated for military

construction to border wall construction, are not declared unlawful.

                           FOURTH CLAIM FOR RELIEF
   Unlawful Transfer of Appropriated Funds Into, and From, the Counterdrug Account

  Violation of Defense FY19 Appropriations and 2019 Consolidated Appropriations Act

       171.    Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

       172.    The APA requires courts to hold unlawful and set aside any agency action that is

“(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; (B)




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contrary to constitutional right, power, privilege, or immunity; [or] (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2).

          173.   The Defense Secretary’s and Army Corps of Engineers’ implementing actions to

identify, transfer, and obligate up to $2.5 billion of appropriated funds into, and from, the

10 U.S.C. § 284 counterdrug account to border wall construction are arbitrary, capricious, an

abuse of discretion, and not in accordance with law, in contravention of the APA standards of

review.

          174.   The Defense Secretary’s implementing actions to identify and transfer up to $2.5

billion of appropriated funds into the counterdrug account violate the DoD FY19 Appropriations

Act general transfer authority, as the transfer would be an unlawful “case where the item for

which funds are requested has been denied by the Congress.” Defense FY Appropriations,

§ 8005.

          175.   The Defense Secretary’s and Army Corps of Engineers’ implementing actions to

identify, transfer, and obligate up to $2.5 billion of appropriated funds into, and from, the

counterdrug account to fund border wall construction violate the 2019 Consolidated

Appropriations Act, by exceeding and falling outside of the Act’s monetary and geographic

limitations, respectively, on border wall funding. 2019 Consolidated Appropriations Act,

§ 230(a).

          176.   The Defense Secretary’s and Army Corps of Engineers’ implementing actions to

identify, transfer, and obligate up to $2.5 billion of appropriated funds into, and from, the

counterdrug account to fund border wall construction violate the 2019 Consolidated

Appropriations Act prohibition that “[n]one of the funds made available in this or any other

appropriations Act may be used to increase . . . funding for a program, project, or activity as




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proposed in the President’s budget request for a fiscal year until such proposed change is

subsequently enacted in an appropriation Act, or unless such change is made pursuant to the

reprogramming or transfer provisions of this or any other appropriations Act.” 2019

Consolidated Appropriations Act, § 739; see also 10 U.S.C. § 2214(b).

       177.    Plaintiffs and their members will suffer irreparable injury if the Defense

Secretary’s and Army Corps of Engineers’ implementing actions to identify, transfer, and

obligate up to $2.5 billion of appropriated funds into, and from, the counterdrug account to

border wall construction are not declared unlawful. Plaintiffs and their members have no other

adequate remedy at law.

                            FIFTH CLAIM FOR RELIEF
         (IN THE ALTERNATIVE TO THE FOURTH CLAIM FOR RELIEF)
   Unlawful Transfer of Appropriated Funds Into, and From, the Counterdrug Account

  Violation of Defense FY 19 Appropriations and 2019 Consolidated Appropriations Act

       178.    Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

       179.    In the event the Court finds that the Defense Secretary’s and Army Corps of

Engineers’ implementing actions are not subject to APA review, Plaintiffs have a non-statutory

right of action to enjoin and declare those actions as ultra vires.

       180.    For the same reasons described in the Fourth Claim for Relief, the Defense

Secretary’s and Army Corps of Engineers’ implementing actions to identify, transfer, and

obligate up to $2.5 billion of appropriated funds into, and from, the counterdrug account to

border wall construction are unlawful.

       181.     Plaintiffs and their members will suffer irreparable injury if the Defense

Secretary’s and Army Corps of Engineers’ implementing actions to identify, transfer, and




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obligate up to $2.5 billion of appropriated funds into, and from, the counterdrug account to

border wall construction are not declared unlawful.

                             SIXTH CLAIM FOR RELIEF
 Failure to Carry Out Duties as Lead Agency and Cooperating Agencies in Preparation of
                            Environmental Impact Statement

                      Violation of NEPA (40 C.F.R. § 1501.5 and § 1501.6)

          182.   Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

          183.   The APA requires courts to hold unlawful and set aside any agency action that is

“(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; (B)

contrary to constitutional right, power, privilege, or immunity; [or] (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2).

          184.   Defendants have failed to meet the duties placed upon lead and cooperating

agencies by NEPA and its implementing regulations, in contravention of APA standards of

review.

          185.   DHS has requested DoD to pay for border wall construction through the

identification, transfer, and obligation of funds appropriated to other purposes. In addition, DHS

has requested that DoD execute the border wall projects though the construction of border wall

fencing, the construction of roads, and the installation of lighting. All of the requests received to

date would result in border wall construction on federal lands, primarily protected federal lands

owned and administered by the Department of the Interior. DoD has approved assistance for

specific border wall construction segments within the Trump administration’s larger border wall

project, including Yuma Sector Projects 1 and 2 and El Paso Project 1, and has identified,

transferred, and obligated more than $1 billion into, and from, the counterdrug account to carry

out these projects.



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       186.      DoD will identify up to $3.6 billion of funds appropriated for military

construction by May 15, 2019, to be available for transfer and obligation to fund the Trump

administration’s border wall project pursuant to the purported emergency authority of 10 U.S.C.

§ 2808.

       187.      NEPA requires that a lead agency be designated for the Trump administration’s

border wall project, including the Defense Secretary’s and Army Corps of Engineers’

implementing actions to identify, transfer, and obligate appropriated funds to border wall

construction, which is primarily planned for protected lands owned and administered by the

Department of the Interior. 40 C.F.R. § 1501.5(a)(1)-(2). The lead agency “shall supervise the

preparation of an environmental impact statement,” as more than one Federal agency “is

involved in the same action,” and the border wall project involves a “group of actions directly

related to each other because of their functional interdependence or geographical proximity.” 40

C.F.R. § 1501.5(a)(1)-(2).

       188.      The lead agency “shall [r]equest the participation of each cooperating agency in

the NEPA process at the earliest possible time.” Id. § 1501.6(a)(1). Conversely, “[e]ach

cooperating agency shall [p]articipate in the NEPA process at the earliest possible time.” Id.

§ 1501.6(b)(1).

          189.   Acting Secretary Shanahan’s March 25, 2019 letter approving the DHS February

25, 2019 request for assistance states that “CBP will serve as the lead agency for environmental

compliance,” despite the fact that DoD and the Army Corps of Engineers are funding,

implementing, and constructing the border wall projects.

          190.    Despite the DoD actions already taken to identify, transfer, and obligate funds

appropriated to other purposes, the specific identification of border wall project areas, and the




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apparent imminence of project related construction, CBP has not initiated the NEPA process, in

violation of its duties as lead agency to “supervise the preparation of an environmental impact

statement,” and to “[r]equest the participation of each cooperating agency in the NEPA process

at the earliest possible time.” 40 C.F.R. § 1501.5 (a)(1)-(2), § 1501.6(a)(1).

        191.     Conversely, DoD, the Army Corps of Engineers, and the Department of the

Interior have acted in violation of their NEPA duties as cooperating agencies to “[p]articipate in

the NEPA process at the earliest possible time.” Id. § 1501.6(b)(1).

        192.     On information and belief, CBP has no intention of conducting any NEPA review,

but instead intends to issue waivers of NEPA and other laws pursuant to IIRIRA 102(c). Any

such waivers would represent an unlawful bootstrapping of the waiver authority, which is

directed to actions of DHS. See § 102(a) (“The Secretary of Homeland Security shall take such

actions as may be necessary to install additional barriers and roads . . .”) (emphasis added). The

border wall projects are being carried out (with little to no DHS involvement or expenditure) by

DoD and Army Corps of Engineers, on lands owned and administered by the Department of the

Interior.2 As more than one Federal agency is “involved in the same action” and the border wall

projects are “a group of actions directly related to each other because of their functional

interdependence or geographical proximity,” the Trump administration’s border wall project

creates cooperating agency duties for DoD, the Army Corps of Engineers, and Department of the

Interior that are beyond the scope of the IIRIRA waiver authority. 40 C.F.R. § 1501.5(a)-(c),

§ 1501.6.

        193.     Plaintiffs and their members will suffer irreparable injury if Defendants’ failures

to meet their duties as lead agency and cooperating agencies under NEPA are not declared

2
 Border wall projects are also proposed for lands within the Coronado National Forest, administered by the U.S.
Forest Service, an agency of the Department of Agriculture. The Forest Service should also serve as a cooperating
agency.


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unlawful, and unless those agencies are not thereby directed to immediately begin preparation of

an environmental impact statement. Plaintiffs and their members have no other adequate remedy

at law

                               SEVENTH CLAIM FOR RELIEF
                                  Constitutional Violation

                Violation of the Appropriations Clause of the U.S. Constitution
                                     Article I, Section 9, Clause

         194.   Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

         195.   Article I of the U.S. Constitution provides that “no Money shall be drawn from

the Treasury, but in Consequence of Appropriations made by Law.” U.S. CONST. art. I, § 9,

cl. 7.

         196.   Congress’s “power of the purse” has been described as the “most important single

curb” on presidential authority, because it vests the powers of public revenue and public

expenditures with the people’s representatives in Congress. EDWARD S. CORWIN, THE

CONSTITUTION AND WHAT IT MEANS TODAY 134 (13th ed. 1975); see Reeside v. Walker, 52 U.S.

272, 291 (1850) (“However much money may be in the Treasury at any one time, not a dollar of

it can be used in the payment of any thing not thus previously sanctioned.”).

         197.   The proclamation and agency implementing actions to identify, transfer, and

obligate appropriated funds violate 10 U.S.C. § 2808, DoD FY19 Defense Appropriations Act,

and 2019 Consolidated Appropriations Act. Congress has not appropriated the funds being

transferred and obligated to border wall construction for that purpose, and limited the funds it has

appropriated to border wall construction to projects within the Rio Grande Valley that are subject

to several additional restrictions. Defendants’ unlawful transfer and obligation of appropriated

funds for border wall construction violates the Appropriations Clause.



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          198.   Plaintiffs and their members will suffer irreparable injury if this constitutional

violation is not declared unlawful. Plaintiffs and their members have no other adequate remedy

at law.

                                 EIGHTH CLAIM FOR RELIEF
                                    Constitutional Violation

                   Violation of the Take Care Clause of the U.S. Constitution
                                      Article II, Section 3

          199.   Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

          200.   Article II of the U.S. Constitution provides that “[t]he executive Power shall be

vested in a President,” and that he or she “shall take Care that the Laws be faithfully executed.”

U.S. CONST. art. II, § 3.

          201.   The President has failed to comply with the requirements and limitations of law

that the Executive Branch is required to “faithfully execute,” including the NEA, 10 U.S.C.

§ 2808, FY 19 Defense Appropriations Act, and 2019 Consolidated Appropriations Act.

Accordingly, the President’s issuance of the emergency proclamation, and the Defense

Secretary’s and Army Corps’ implementing actions to identify, transfer, and obligate

appropriated funds to border wall construction, violate the Take Care Clause.

          202.    Plaintiffs and their members will suffer irreparable injury if this constitutional

violation is not declared unlawful. Plaintiffs and their members have no other adequate remedy

at law.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that this Court:

       1.      Declare the Emergency Proclamation unlawful under the National Emergencies

Act;

       2.      Declare the Defense Secretary’s and Army Corps of Engineers’ implementing

actions to identify, transfer, and obligate funds appropriated to other purposes in order to

construct a border wall, are unlawful under 10 U.S.C. § 2808, Defense FY19 Appropriations,

and 2019 Consolidated Appropriations Act;

       3.      Declare that Defendants’ failure to meet their respective duties as lead agency and

cooperating agencies under NEPA as unlawful, and Order the immediate initiation of an

environmental impact statement;

       4.      Declare the Emergency Proclamation, and the Defense Secretary’s and Army

Corps of Engineers’ implementing actions to identify, transfer and obligate funds appropriated to

other purposes in order to construct a border wall—are unconstitutional under the Article I

Appropriations Clause and the Article II Take Care Clause;

       5.      Set aside and vacate the Emergency Proclamation, and the Defense Secretary’s

and Army Corps of Engineers’ implementing actions to identify, transfer and obligate funds

appropriated to other purposes in order to construct a border wall pursuant to that proclamation;

       6.      Enjoin all transfers and obligations of appropriated funds;

       7.      Retain jurisdiction to ensure compliance with the Court’s Orders;

       8.      Award Plaintiffs their reasonable costs of litigation, including reasonable

attorneys’ fees, expert fees, and costs; and

       9.      Grant such other and further relief as the Court may deem just and proper.




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DATED:    April 15, 2019         Respectfully submitted,

                                 /s/ Brian Segee

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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLOUMBIA

CENTER FOR BIOLOGICAL DIVERSITY,
378 N. Main Avenue
Tucson, AZ 85701;

DEFENDERS OF WILDLIFE,
1130 17th Street, N.W.
Washington, D.C. 20036;                               Case No.: __________________.
                                                           1:19-cv-00408-TNM
ANIMAL LEGAL DEFENSE FUND,
525 E. Cotati Ave.
Cotati, CA 94931;

               Plaintiffs,
v.

DONALD J. TRUMP,
in his official capacity as President of the United
States
1600 Pennsylvania Avenue, N.W.
Washington, D.C. 20500;

PATRICK M. SHANAHAN,
in his official capacity as acting Secretary of
Defense
Department of Defense
1000 Defense Pentagon
Washington, D.C. 20301;

STEVEN MNUCHIN,
In LIEUTENANT GENERAL TODD T.
SEMONITE, in his official capacity as
SecretaryCommander and Chief of the Engineers
DepartmentU.S. Army Corps of Treasury, Engineers
1500 Pennsylvania Avenue, NW,
441 G Street, N.W.
Washington, D.C. 20220 20314-1000;

KIRSTJEN M. NIELSEN,
KEVIN McALEENAN,
in herhis official capacity as acting Homeland
Security Secretary
Department of Homeland Security
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245 Murray Lane, S.W.
Washington, D.C. 20528;

DAVID BERNHARDT,
in his official capacity as acting Secretary of the
Interior
Department of the Interior
1849 C Street, N.W.
Washington, D.C. 20240;

               Defendants.



    FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                         INTRODUCTION

        1.     On February 15, 2019, President Donald J. Trump issued a “Presidential

Proclamation on Declaring a National Emergency Concerning the Southern Border of the United

States,” (hereafter referred to as” (hereinafter, “emergency proclamation”)”), pursuant to the

purported authority of the National Emergencies Act (“NEA”), 50 U.S.C. § 1601 et seq. 84 Fed.

Reg. Under the emergency proclamation, the President directed the Secretary of Defense and the

Secretary of Homeland Security to undertake specific acts in furtherance of border wall

construction. The President further directed the reallocation of up to $601 million from the

Treasury Forfeiture Fund, $3.6 billion in unspent funds appropriated for military construction

projects, as well as up to $2.5 billion in unspent funds appropriated for support for counterdrug

activity support, towards border wall construction. See White House Press Office: “President

Donald J. Trump’s Border Security Victory”4949 (Feb. 1520, 2019).1




1
  Plaintiffs use the terms “border wall,” border fence,” and “border barrier” interchangeably.
Regardless of construction method (steel bollard is currently the most commonly utilized), these
large structures have far reaching environmental impacts.



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       2.      Though “emergency” is not defined under the NEA, its common usage typically

involves elements of suddenness and surprise. Emergencies generally require an urgent

response. The present situation sharply departs from both of these generalities. Here, the

President first declared his intent to invoke the NEA nearly two months prior to making the

proclamation. During the intervening time, he indicated his “absolute” right to declare an

emergency, waffled as to whether he would exercise the authority, and repeatedly stated his

intent to use an emergency proclamation should Congress continue to refuse to meet his $5.7

billion funding demand for a southern border wall. When the President finally did announce his

emergency proclamation in the White House Rose Garden, he concluded that “I could do the

wall over a longer period of time. I didn’t need to do this [but] I’d rather do it much faster.”

       3.1.    Including recently enacted appropriations On the same day, the administration

“has so farissued a statement that it had identified up to $8.1approximately $6.7 billion that will

be in funds “available to build the border wall once a national emergency is declared and

additional funds have been reprogrammed”—far more than the $5.7 billion amount previously

requested by the administration..” See Fact Sheet, White House Press Office: “, President

Donald J. Trump’s Border Security Victory.” (Feb. 15, 2019).2 These funds would originate from

three separate sources:

                  “About $601 million from the Treasury Forfeiture Fund”;

                  “Up to $2.5 billion under the Department of Defense funds transferred for

                   Support for Counterdrug Activities (Title 10 United States Code, section

                   284”) (hereinafter, “counterdrug account”); and

2
  Plaintiffs use the terms “border wall and” and “border fence” interchangeably. Regardless of
construction method (steel bollard is currently the most commonly utilized), these large
structures have far reaching environmental impacts.



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                 “Up to $3.6 billion reallocated from Department of Defense military

                  construction projects under the President’s declaration of a national

                  emergency (Title 10 United States Code, section 2808).” Id.

       2.     Immediately after issuing the emergency proclamation, the President signed the

Consolidated Appropriations Act, 2019, into law, which appropriates an additional $1.375 billion

to U.S. Customs and Border Protection (“CBP”) for border wall construction in the Rio Grande

Valley, Texas. Pub. L. No. 116-6; H.R.J. Res. 31, 116th Cong. § 230(a)(1) (enacted)

(hereinafter, “2019 Consolidated Appropriations Act”).

       3.     The administration stated its intent to use these funds for border wall construction

“sequentially and as needed” by source, in the following order: 2019 Consolidated

Appropriations Act funds; Treasury Forfeiture Fund; counterdrug account funds; and emergency

military construction funds. See Fact Sheet, Border Security Victory. Instead, the Department of

Defense (“DoD”) has already identified, transferred, and obligated appropriated funds into, and

from, the counterdrug account funds despite the fact funds appropriated under the 2019

Consolidated Appropriations Act have not been fully obligated.

       4.     Of the 58 times presidents have previously declared emergencies under the

National Emergencies Act, NEA, none involved using the emergency powers to fund a policy

goal after a president failed to meet that goal through foreign diplomacy (having Mexico pay for

the wall) or the congressional appropriations process. Never before has a president used the

emergency powers granted to him by Congress in such a mannerThis abuse of the congressional

delegated NEA authority renders the proclamation unlawful.

       5.     Even under a validly declared emergency, the President must identify any

available existing statutory authority triggered by thatan emergency proclamation which would




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authorize the reprogramming of previouslytriggers in order to lawfully transfer Congressionally

appropriated funds. The National Emergencies ActNEA does not permit a president to take any

action, but instead unlocks a president’s ability to invoke specific and existing emergency

statutory authorities. TheAlthough the proclamation relies on military construction authority

pursuant to 10 U.S.C. § 2808, both the plain language and broader statutory context of that

provision demonstrate that it is inapplicable to border wall construction. As the President has

failed to identify such statutory authority and Congress has not enacted any emergency

legislation even remotelystatutory authority pursuant to the NEA related to border wall

construction, and thus the President’s reallocation of the emergency transfer of appropriated

military construction funds to border wall construction is unlawful.

       6.      The President’s efforts to re-direct federal moneys set aside for combatting

organized crime, 31 U.S.C. § 9705, military construction, 10 U.S.C. § 2808, and counterdrug

support activities, 10 U.S.C. § 284, are squarely inconsistent with the plain language and broader

statutory context of these provisions, and should be vacated and reversed. The southern border

wall cannot—under any reasonable interpretation—be considered eligible for emergency

redirection of funds appropriated by Congress for other purposes.

       6.      By unlawfully redirecting moneys from organized crime investigations,The

President’s order that DoD transfer appropriated funds into, and from, the counterdrug account,

and the Defense Secretary’s and Army Corps of Engineers’ implementing actions to identify,

transfer, and obligate appropriated funds to border wall construction, are also unlawful under the

2019 Consolidated Appropriations Act and DoD FY 19 Appropriations Act.

       7.      Defendants have failed to meet the duties applicable to lead and cooperating

agencies for projects involving multiple Federal agencies under the National Environmental




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Policy Act (“NEPA”), 42 U.S.C. § 4321 et seq. The agencies’ failure to initiate and complete an

environmental impact statement for the Trump administration’s border wall project will promote

secrecy where there should be transparency; divest Plaintiffs, local communities and other

stakeholders of opportunities for public notice, review, and comment; and allow significant

environmental harm to occur that could be avoided or mitigated if a lawful NEPA process were

undertaken.

        7.8.    By unlawfully transferring funds from the counterdrug support account and

military construction, and counterdrug support appropriations to border wall construction, the

emergency proclamation also exceeds, and the Defense Secretary’s and Army Corps of

Engineers’ implementing actions to identify, transfer, and obligate appropriated funds to border

wall construction, also exceed President Trump’s constitutional authority by usurping Congress’s

Article I Appropriation powers, Art.U.S. CONST. art. I, § 9, and by violating the President’s

obligation to “take cCare that the Laws be faithfully executed.” Art.U.S. CONST. art. II, § 3.

        8.      The emergency proclamation is unlawful on its face. Implementation of the

emergency proclamation, agency actions taken or directed to be taken under the proclamation,

and the expenditure of funds to construct a border wall pursuant to that proclamation should be

enjoined. Of particular concern to Plaintiffs and their members, border barriers prevent the

passage of wildlife, and could result in the extirpation of jaguars, ocelots, and other endangered

species within the United States. The use of funds for such barriers that on information and

belief are directed at least in part to investigating and where relevant prosecuting organized

criminal activities related to illegal wildlife trafficking further harms Plaintiffs’ interests in

protecting and preserving biological diversity.




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       9.      Implementation of the emergency proclamation, including the Defense

Secretary’s and Army Corps of Engineers’ implementing actions to identify, obligate, and

transfer appropriated funds to border wall construction, should be declared unlawful and

enjoined.

                                 JURISDICTION AND VENUE

       9.10.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and can

grant declaratory relief pursuant to 28 U.S.C. §§ 2201-2202, the Administrative Procedure Act

(“APA”), 5 U.S.C. § 706, and its equitable powers.

       10.11. Venue properly vests in this Court pursuant to 28 U.S.C. § 1391(b) and (e),

because the violations are occurring in this district, Defendants reside in this district, and a

substantial part of the events or omissions giving rise to the claims have occurred in this district

due to decisions made by the Defendants.

                                             PARTIES

       11.12. Plaintiff CENTER FOR BIOLOGICAL DIVERSITY (“the Center”) is a non-

profit conservation organization with more than 1.4 million members and online activists

dedicated to the protection of endangered species and wild places.their habitats through science,

policy, and environmental law. The Center is headquartered in Tucson, Arizona, with offices in

Washington, D.C.., and numerous other locations throughout the country, and an office in Baja

California Sur, Mexico. The Center has more than 68,000 members and more than one million

supporters.

       12.13. The Center has worked for more than two decades to oppose environmentally

harmful border fencing and other injurious border security projects along the U.S.-Mexico border

generally, and within the specific Border Patrol sectors (San Diego, CalexicoEl Centro, Tucson,




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Yuma, El Paso, Laredo, and Rio Grande Valley) impacted bywhere border wall construction will

occur under the emergency proclamation specifically, and the Defense Secretary’s and Army

Corps of Engineers’ implementing actions to identify, transfer, and obligate appropriated funds

to border wall construction. The Center also has a long history of advocating for the protection

of rare wildlife habitat and specific species that would be impacted by the emergency

proclamation,transfer and obligation of appropriated funds to border wall construction including

jaguar, ocelot, peninsular bighorn sheep, Sonoran pronghorn, Mexican gray wolf, Quino

checkerspot butterfly, and coastal California gnatcatcher, —and is directly responsible for the

protection of numerous borderland species and their critical habitats under the Endangered

Species Act. Center members, including but not limited to, Laiken Jordan and Michael

Robinson, enjoy observing wildlife and their habitat in borderlands areas and enjoy recreating on

public lands and in public areas that will be negatively affected by border wall construction.

Additionally, the Center works to combat wildlife trafficking—the fourth largest criminal

activity worldwide— and the threats it poses to biological diversity preservation.

       13.14. Plaintiff DEFENDERS OF WILDLIFE (“Defenders”) is a nonprofit organization

with nearly 1.8 million members and supporters across the nation, including more than 3,600

members in New Mexico.. Defenders’ mission is to preserve wildlife and emphasize

appreciation and protection for all species in their ecological role. Through advocacy, litigation,

and other efforts, Defenders works to preserve species and the habitats upon which they depend.

Defenders has been closely involved in policy and litigation matters associated with border wall

construction along the United States-U.S.-Mexico border for more than a decade. Defenders has

field offices across the country, including in Santa Fe, New Mexico.




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       14.15. Plaintiff ANIMAL LEGAL DEFENSE FUND (“ALDF”) is a nonprofit 501(c)(3)

organization with more than 200,000 members and supporters, including thousands of whom live

in states located on the U.S.-Mexico border, and at least hundreds of whom live in towns that are

located in close proximity to border areas at issue. This includes Elizabeth Walsh, who resides

in El Paso, Texas, near Sunland Park, New Mexico near, and the United States-U.S.-Mexico

border. Ms. Walsh has been a member of ALDF since at least 2012. She routinely visits the

border areas that will be impacted by the emergency proclamation for professional and

recreational purposes. Similarly, ALDF member Robert Knaier resides in San Diego County,

California, and regularly visits the border area in California for recreational purposes. ALDF

represents its members interests by working to protect the lives of animals, including wildlife,

through the legal system. This includes prior litigation challenging unlawful attempts to waive

environmental and animal protection laws to facilitate border construction. ALDF is

headquartered onin Cotati, California.

       15.16. Plaintiffs have organizational and membership-based interests in the preservation

and conservation of specific areas of the U.S.-Mexico borderlands that have been declared a

national emergency zone under the impacted by the President’s February 15, 2019 emergency

proclamation. and the transfer and obligation of appropriated funds to border wall construction.

Plaintiffs and their members are harmed by the emergency proclamation, the invocation of

emergency powers arising fromand the proclamation, the agencyDefense Secretary’s and Army

Corps of Engineers’ implementing actions taken or directed under the declaration, and the

unlawful reallocation of previouslyto identify, transfer, and obligate appropriated funds to border

wall construction. Plaintiffs’ members and staff live in or regularly visit the U.S.-Mexico

borderlands region, including specific areas within the San Diego, CalexicoEl Centro, Tucson,




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Yuma, El Paso, Laredo, and Rio Grande Border Patrol sectors that will be impacted by the

emergency proclamationproposed border wall construction. These specific areas include

numerous areas of federal, state, and local protected borderlands, including but not limited to

Cleveland National Forest, Cabeza Prieta National Wildlife Refuge, Organ Pipe Cactus National

Monument, Coronado National Forest, San Pedro Riparian National Conservation Area, San

Bernardino National Wildlife Refuge, Organ Mountains-Desert Peaks National Monument,

Lower Rio Grande Valley National Wildlife Refuge, and other lands administered by the U.S.

Bureau of Land Management. Plaintiffs’ staff and members use these specific borderland areas

for hiking,; camping,; viewing and studying wildlife,; photography,; and other scientific,

vocational, and recreational activities,; and they have specific intentions to continue to use and

enjoy these areas frequently and on an ongoing basis in the future. BorderBorder wall

construction resulting from the President’s emergency proclamation, and the Defense Secretary’s

and Army Corps of Engineers’ implementing actions to identify, transfer, and obligate

appropriated funds to border wall construction, and associated actions including stripping all

vegetation within a 150-foot enforcement zone, road construction, and high-intensity lighting,

would harm Plaintiffs’ members and these protected interests in numerous ways. These

harmsThe harm would include immediate impacts, such as precluding future visitation of

impacted areas, destroying wildlife habitat, and killing individual members of different wildlife

species. Border wall construction would also result in longer term harm, by blocking

connectivity between wildlife populations in U.S. and Mexico, harming the long term viability of

those species, and in some cases, resulting in their extirpation from the United States. These

harms go to Plaintiffs’ central organizational purposes.




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       16.17. Plaintiffs further work to combat wildlife trafficking because illegal poaching,

trafficking, and sales or possession of wildlife species is the second greatest threat to biological

diversity. The diversion of funds that would otherwise be used to combat organized crime—

including wildlife trafficking—to border wall construction harms Plaintiffs’ efforts to reduce

such trafficking. This diversion of funds will both force Plaintiffs to spend additional

organizational resources on combatting wildlife trafficking and raising awareness about it. It

also harms Plaintiffs and their members’ interests in observing, enjoying, and protecting

frequently trafficked species and the intact ecosystems in which they reside. Plaintiffs and their

members are harmed by Defendants’ failure to engage in a full and legally adequate NEPA

process, including the failure to consider alternatives and to adequately study and disclose the

direct, indirect, and cumulative adverse ecological, aesthetic, and recreational impacts of border

wall construction in the areas they enjoy. By commencing border wall construction activities,

including identifying, transferring, and obligated appropriated funds to border wall construction,

without adequately considering and disclosing the environmental impacts of the resulting

activities, Defendants have deprived Plaintiffs and their members of their procedural rights,

under NEPA, to a NEPA process that fully discloses the effects of, and alternatives to,

Defendants’ actions. Defendants have also deprived Plaintiffs of the information that would be

developed through an adequate NEPA document, which Plaintiffs would use to educate their

members and other concerned members of the public about the environmental impacts of border

wall construction. As a result, Plaintiffs must spend substantial resources pursuing alternative

sources of information regarding Defendants’ activities. The harms to Plaintiffs’ interests could

be partially or entirely avoided or mitigated if Defendants engaged in a NEPA process. Plaintiffs




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would certainly engage in that process in an effort to protect the wildlife species and habitat they

have long endeavored to conserve as well as the natural areas in which they enjoy recreating.

       17.18. Defendant DONALD J. TRUMP, President of the United States, is sued in his

official capacity. President Trump issued the emergency proclamation on February 15, 2019.

       18.19. Defendant PATRICK M. SHANAHAN, Acting Secretary of Defense, is sued in

his official capacity. The February 15, 2019 emergency proclamation instructs the Defense

Secretary to “take all appropriate actions” in support of the proclamation’s directives, including

taking action to reallocatetransfer military construction and counterdrug operations appropriated

funds to border wall construction.

       19.20. Defendant STEVEN MNUCHIN, DepartmentLIEUTENANT GENERAL TODD

T. SEMONITE, Commander and Chief of Treasury SecretaryEngineers of the U.S. ARMY

CORPS OF ENGINEERS, is sued in his official capacity. The Department of Treasury through

its Treasury Executive Office for Asset Forfeiture administers the Treasury Forfeiture Fund. The

President has directed the reprogrammingU.S. Army Corps of $601 million from the Treasury

Forfeiture Fund forEngineers will receive transfers of appropriated funds, and implement DoD

orders to obligate those funds to border wall construction.

       20.21. Defendant KIRSTJEN M. NIELSEN,KEVIN McALEENAN, Acting Homeland

Security Secretary, is sued in herhis official capacity. The February 15, 2019 emergency

proclamation instructs the Homeland Secretary to “take all appropriate actions” in support of the

proclamation’s directives.

       21.22. Defendant DAVID BERNHARDT, Acting Secretary of the Interior, is sued in his

official capacity. The February 15, 2019 emergency proclamation instructs the Interior Secretary

to “take all appropriate actions” in support of the proclamation’s directives.




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                                       LEGAL BACKGROUND

       A.      The National Emergencies Act

       22.23. The President’s statutory authority to declare a national emergency is governed by

the 1976 National Emergencies Act (“NEA”).. 50 U.S.C. § 1601 et seq. The ActNEA was

designed to limit presidential power and reclaim authority that had been delegated from the

legislative branch. See Jules Lobel, Emergency Power and the Decline of Liberalism, 98 Yale

L.J. 1385, 1412 (1989) (stating that NEA responded to “the twin disasters of Vietnam and

Watergate” and the sense that “the pendulum had swung too far” in favor of the growth of

executive power).

       23.24. The enactment of the NEA terminated all existing states of emergency and

established a uniform procedural framework for the future exercise of such powers. In addition,

the NEA established other mechanisms intended to better ensure presidential accountability by

establishing reporting and other requirements.

       24.25. A proclamation issued under the NEA triggers the President’s authority to invoke

existing Acts of Congress whichthat authorize “the exercise, during the period of a national

emergency, of any special or extraordinary power.” 50 U.S.C. § 1621(a); id. § 1631 (“When

the President declares a national emergency, no powers or authorities made available by statute

for use in the event of an emergency shall be exercised unless and until the President specifies

the provisions of law under which he proposes that he, or other officers will act.”).

       25.26. Accordingly, the scope of the President’s emergency powers is limited to

legislative enactments under which Congress has specifically granted those powers in advance.

       26.27. An emergency proclamation “shall immediately be transmitted to the Congress

and published in the Federal Register.” Id. § 1621(a).




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       27.28. The NEA does not define the term “emergency.”

       28.29. The common usage of the term “emergency” involves an element of suddenness

and unexpectedness. Merriam-Webster, for example, states that an emergency is “an unforeseen

combination of circumstances or the resulting state that calls for immediate action.” Similarly,

Black’s Law Dictionary defines the word as a “sudden, unexpected, or impending situation.”

       29.30. NEA’s legislative history shows that the emergency power conferred by Congress

is not boundless. In testimony before the Committee on Government Operations on February 25,

1976, co-sponsor Senator Frank Church stated that “Congress should be forewarned that it is

inherent in the nature of modern government that the Executive will seek to enlarge its power in

small ways and large,” and advised that the president “should not be allowed to invoke

emergency authorities or in any way utilize the provision of [the NEA] for frivolous or partisan

matters, nor for that matter in cases where important but not ‘essential’ problems are at stake.”

National Emergency Act: Hearing on H.R. 3884 Before the S. Comm. on Government

Operations, 94th Cong. 7 (1976) (statement of Sen. Frank Church).

       30.31. There are currently an estimated 123 statutory authorities that may be invoked by

an emergency proclamation under the NEA. See BRENNAN CENTER FOR JUSTICE, “A GUIDE TO

EMERGENCY POWERS AND THEIR USE.” (Dec. 5, 2018),

https://www.brennancenter.org/analysis/emergency-powers. These provisions address disparate

issues including public health; land management; military and national defense; federal

employees; asset seizure, control, and transfer; criminal prosecution and detainment powers; and

international relations.

       31.32. The NEA has been invoked at least 58 times from 1978-2012. Nearly all of the

declared emergencies (49 instances) relate to sanctions or export restrictions. Four emergencies




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relate to weapons proliferation. The remaining five emergencies did not fit into any specific

category and involved the 2009 swine flu outbreak, the September 11 terrorist attacks, vessel

movement near Cuba, rough diamonds from Sierra Leone, and sale of Iraq petroleum.

       32.33. None of the 123 emergency statutory authorities that may be invoked under an

NEA proclamation address immigration or border wall construction.

       B.     Title 8 (Immigration), the Immigration and NaturalizationNationality Act,
       and the        “Mass Influx” and “Emergency Situation Refugees” Provisions

       33.34. Congress has not established any National Emergency ActNEA authorities under

Title 8 (Immigration) of the United States Code.

       34.35. The Immigration and NaturalizationNationality Act (“INA”), 8 U.S.C. § 1101 et

seq., “established a comprehensive federal statutory scheme for regulation of immigration and

naturalization and set the terms and conditions of admission to the country and subsequent

treatment of aliens lawfully in the country.” Chamber of Commerce v. Whiting, 563 U.S. 582,

587 (2011).) (citation and internal quotation marks omitted).

       35.36. While the INA does not contain any emergency provision triggered by the NEA,

Congress did specifically consider the urgency of “an actual or imminent mass influx of aliens

arriving off the coast of the United States, or near a land border.” 8 U.S.C. § 1103(a)(10). In

such a circumstance, the INA does not contemplate a military response, but instead authorizes

the Attorney General to deputize any State or local law enforcement officer with the authority to

perform federal immigration duties.

       36.37. The INA also addresses emergency refugee situations. 8 U.S.C. § Id. § 1157. In

such a circumstance, the INA again does not contemplate a military response, but instead allows

the President to grant admissions beyond the maximum established by Congress in order to




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address humanitarian concerns, and directs the President to consult with Congress and the

Cabinet.

       C.      DHS’s Statutory Responsibility for Border Security and Border Fencing

       37.38. The Department of Homeland Security (“DHS”) and its component agency U.S.

Customs and Border Protection (“CBP”)CBP are domestic agencies charged with preventing the

entry of terrorists, securing the borders, and carrying out immigration functions. Within CBP,

the U.S. Border Patrol’s mission is to prevent illegal entry across approximately 7,000 miles of

Mexican and Canadian international borders and 2,000 miles of coastal borders surrounding

Florida and Puerto Rico.

       38.39. Beginning with enactment of the Illegal Immigration Reform and Immigrant

Responsibility Act of 1996 (“IIRIRA”), Pub. L. No. 104-208, 110 Stat. 3009-546 (8 U.S.C.

§ 1103 note,), Congress has periodically directed DHS to build fencing on the southern border.

       39.40. As originally enacted, section 102(b) of IIRIRA required the completion of a

triple-layer fence along a 14-mile stretch of border fencing in the San Diego sector where

construction had begun in the early 1990s.

       40.41. The Secure Fence Act of 2006, Pub. L. No. 109-367 (October 26, 2006), 120 Stat.

2638, amended section 102(b) of IIRIRA to require DHS to construct at least two layers of

reinforced fencing as well as physical barriers, roads, lighting, cameras, and sensors on five

specific sections of the southern border totaling approximately 850 miles.

       41.42. Shortly thereafter, the DHSConsolidated Appropriations Act, 2008, Pub. L. No.

110-161 (December 26, , 121 Stat. 1844, 2090 (2007) again amended section 102(b) of IIRIRA

by removing the specific location and double-layer fencing requirements, and instead directing

DHS to construct not less than 700 miles of reinforced fencing where fencing would be most




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practical and effective.

       D.      Military Support for Civilian Law Enforcement Agencies (Title 10,
               Chapter 15)
               15)

       42.43. The principle that the military cannot act as a domestic police force is deeply

rooted in U.S. history and law. Under the Posse Comitatus Act, 18 U.S.C. § 1385, enacted in

1878, the use of “any part of the Army or Air Force as a posse comitatus” (i.e., deputized by

civilian law enforcement officials to carry out the law) [is] a felony, unlawful, “except in cases

of and under circumstances expressly authorized by the Constitution or an actAct of Congress.”

The law’s reach was subsequently extended to the Marines and Navy.

       43.44. Beginning in the early 1980s, Congress passed several Defense Authorization

Acts that relaxed Posse Comitatus Act prohibitions by authorizing the use of military in specified

domestic law enforcement activities. These provisions are codified under a new chapter of the

U.S. Code (Title 10, Chapter 15, “Military Support for Civilian Law Enforcement

Agencies.”).”).

       44.45. Under Chapter 15, Congress has not given the military emergency authority to

assist in border wall construction or any other border security or immigration related task.

       45.     Chapter 15 does authorizeauthorizes the military to, support civilian law

enforcement officials in a non-emergency situation, share by, among other actions, sharing

information, 10 U.S.C. § 271; allowing use of military equipment and facilities, id. § 272;

trainproviding training and advise civilian law enforcement officialsadvice, id. § 273; and

maintaining and operateing equipment, id. § 274. In addition, the military may provide various

types of support for counterdrug activities and activities to counter transnational organized

crime. Id. § 284. This support includes the “[c]onstruction of roads and fences and installation




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of lighting to block drug smuggling corridors across international boundaries of the United

States.” Id. § 284(b)(7).

          46.   The non-emergency military support authorized under Chapter 15 can only be

provided to domestic law enforcement agencies subject to several prior conditions. Such

support, for example, may not be provided if it will adversely affect military preparedness . Id. §

276. In addition, the civilian law enforcement agency must normally reimburse Department of

Defense for the costs of its support. Id. § 277.

          47.   Congress has specifically limited the military’s support of domestic law

enforcement agencies in emergencies to circumstances involving weapons of mass destruction,

id. § 282, and “situations involving bombings of places of public use, Government facilities,

public transportation systems, and infrastructure facilities..” Id. § 283.(a). These emergency

support provisions are subject to detailed procedures, and they are limited to situations that (1)

pose a serious threat to the interests of the United States and (2) involve violence causing or

imminently threatening significant loss of civilian lives.

          E.    10 U.S.C. § 284

          48.   The non-emergency military support authorized under Chapter 15 includes

various types of support for counterdrug activities and activities to counter transnational

organized crime, including the “[c]onstruction of roads and fences and installation of lighting to

block drug smuggling corridors across international boundaries of the United States.” 10 U.S.C.

§ 284(b)(7). In addition, section 284 separately authorizes “unspecified minor military

construction project[s],” but limits the cost of any such project to $750,000. Id. § 284(b)(4),

(i)(3).




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       49.     The Defense Secretary must provide the appropriate committees of Congress with

a detailed written and electronic notice of any proposed support under section 284 to civilian law

enforcement agencies at least 15 days prior to providing such support. Id. §E 284(h)(1).

       50.     Congress most recently appropriated $517,171,000 for counter-narcotics support

as part of the drug interdiction and counter-drug activities account. Department of Defense and

Labor, Health and Human Services, and Education Appropriations Act, 2019 and Continuing

Appropriations Act, 2019, Pub. L. No. 115-245, Title VI (“Defense FY19 Appropriations”).

       51.      On information and belief, more than 90 percent of the fiscal year 2019 drug

counterdrug account appropriations have been obligated, leaving approximately $80 million.

       52.     The counterdrug account will be used to hold funds transferred from other DoD

accounts up to a total of $2.5 billion, while the Army Corps of Engineers will have authority to

obligate the funds out of the account in order to execute border wall construction projects.

       F.      Military Construction (Title 10, Chapter 169)

       48.     Military construction appropriations are provided in the annual Military

Construction, Veterans Affairs, and Related Appropriations Act. These appropriations fund

military construction for the active and reserve components, as well as military family housing,

U.S. contributions to NATO, and BRAC actions.

       49.53. Military construction activities have no relation to border wall construction and

other support of DHS and other civilian law enforcement agencies, which are addressed under

Title 10, Chapter 15.(“MILCON”) appropriations enable “the Secretary of Defense and the

Secretaries of the Army, Air Force, and Navy to plan, program, design, and build the runways,

piers, warehouses, barracks, schools, hospitals, child development centers, and other facilities

needed to support U.S. military forces at home and abroad.” LYNN M. WILLIAMS,




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FREQUENTLY ASKED QUESTIONS (May 16, 2018).

       50.54. The Trump administration previously objected that the Department of Defense

fiscal year 2019 appropriations billFY19 Appropriations Act, signed into law September 2018,

provided $8.1 billion for military construction rather than the $8.9 billion requested by the

administration requested. See July 18, 2018 letterLetter from Mick Mulvaney, Director, Office

of Management and Budget, to Sen. Richard Shelby, Chair, Senate Comm. on Appropriations

(July 18, 2018)Comm. (“By incrementally funding, rather than fully funding, military

construction projects, the bill delays critical resources to complete high-priority projects initiated

in 2019 and puts the burden on future budgets to make up the difference.”).

       51.55. Congress has provided for an NEA emergency for military construction projects.

pursuant to 10 U.S.C. § 2808(a), which provides:

       In the event of a proclamation of war or the proclamation by the President of a
       national emergency in accordance with the National Emergencies Act (50 U.S.C.
       1601 et seq.) that requires use of the armed forces, the Secretary of Defense,
       without regard to any other provision of law, may undertake military construction
       projects, and may authorize the Secretaries of the military departments to
       undertake military construction projects, not otherwise authorized by law that are
       necessary to support such use of the armed forces. Such projects may be
       undertaken only within the total amount of funds that have been appropriated for
       military construction, including funds appropriated for family housing, that have
       not been obligated.

       F.      The Treasury Forfeiture Fund

       56.     The Treasure Forfeiture Fund is Military construction activities have no relation

to border wall construction and other support of DHS and other civilian law enforcement

agencies, which are addressed under Title 10, Chapter 15, and thus the receipt account

emergency provision is not available to border wall construction.

       G.      Department of Defense Fiscal Year 2019 Authorizations and Appropriations



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       57.     The John S. McCain National Defense Authorization Act for Fiscal Year 2019,

Pub. L. No. 115-232 (“Defense FY19 Authorizations”), includes authorizations for both the

deposit of non-tax forfeitures as a result of laws enforced or administered by participating federal

agencies, namely Internal Revenue Service Criminal Investigations DoD generally (Division of

the Department of A) and MILCON (Division B) specifically. However, Congress addresses the

two in separate appropriations bills. Defense FY19 Appropriations; Energy and Water,

Legislative Branch, and Military Construction and Veterans Affairs Appropriations Act, 2019,

Pub. L. No. 115-244 (“MILCON FY19 Appropriations Act”).

       58.     The Defense FY19 Authorizations Act includes a general transfer authority, under

which the Treasury; U.S. Immigration and Customs Enforcement of Defense Secretary may

“transfer amounts of authorizations made available to the Department of Homeland Security;

U.S. Customs and Border ProtectionDefense . . . for fiscal year 2019 between any such

authorizations for that fiscal year (or any subdivisions thereof)” upon a determination that such

transfer is in the national interest. Defense FY19 Authorizations § 1001(a)(1); Defense FY19

Appropriations § 8005. Except for transfers between military personnel, “the total amount of

authorizations that the Secretary may transfer under the authority of this section may not exceed

$4,500,000,000.” Defense FY19 Authorizations § 1001(a)(2); Defense FY19 Appropriations

§ 8005 (limiting general transfer authority to $4,000,000,000).

       59.     The Defense Secretary’s general transfer authority is not available for MILCON

funds and is further subject to two limitations: general transfer authority funds (1) “may only be

used to provide authority for items that have a higher priority than the items from which

authority is transferred”; and (2) “may not be used to provide authority for an item that has been




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denied authorization by Congress.” Defense FY19 Authorizations § 1001(b)(1)-(2); Defense

FY19 Appropriations § 8005.

       60.     “None of the funds available to the Department of Homeland Security; U.S.

Secret ServiceDefense for any fiscal year for drug interdiction or counter-drug activities may be

transferred to any other department or agency of the DepartmentUnited States except as

specifically provided in an appropriations law.” Defense FY19 Appropriations § 8045(a).

       52.61. “None of Homeland Security; and U.S. Coast Guardthe funds made available

[under the FY19 Appropriations Act] or any other Act may be used to pay the salary of the

Departmentany officer or employee of Homeland Securityany agency funded by this Act who

approves or implements the transfer of administrative responsibilities or budgetary resources of

any program, project, or activity financed by this Act to the jurisdiction of another Federal

agency not financed by this Act without express authorization of Congress . . . .” Defense FY19

Appropriations § 8113.

       The Treasury Forfeiture FundH.         2019 Consolidated Appropriations Act

       62.     The 2019 Consolidated Appropriations Act appropriates $1.375 billion to DHS

“for the construction of primary pedestrian fencing, including levee pedestrian fencing, in the

Rio Grande Valley Sector.” Pub. L. No. 116-6; H.R.J. Res. 31, 116th Cong. § 230(a)(1)

(enacted).

       63.     In addition to specifically rejecting the President’s budget request for $5.7 billion

in border wall funding, Congress put specific limits on the funds it did appropriate under the

2019 Consolidated Appropriations Act.

       64.     Congress limited border wall appropriations to construction in the Rio Grande

Valley, and further, directed that “[n]one of the funds made available by this Act or prior Acts




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are available for construction of pedestrian fencing—(1) within the Santa Ana National Wildlife

Refuge; (2) within the Bentsen-Rio Grande Valley State Park; (3) within La Lomita Historical

park; (4) within the National Butterfly Center; or (5) within or east of the Vista del Mar Ranch

tract of the Lower Rio Grande Valley National Wildlife Refuge.” Id. § 231.

        65.      The 2019 Consolidated Appropriations Act also requires DHS to “confer and seek

to reach mutual agreement regarding the design and alignment of physical barriers” within the

cities of Roma, Rio Grande City, Escobares, and La Gruilla, Texas, as well as the unincorporated

community of Salineno, Texas. In addition, DHS is required to provide a public notice and

comment period on proposed border wall construction within these areas, and to publish its

response to such comments in the Federal Register. Id. § 232.

        53.      The 2019 Consolidated Appropriations Act provides that “[n]one of the funds

made available in this or any other appropriations Act may be used to increase . . . funding for a

program, project, or activity as proposed in the President’s budget request for a fiscal year until

such proposed change is subsequently enacted in an appropriation Act, or unless such change is

made pursuant to the reprogramming or transfer provisions of this or any other appropriations

Act.” Id. § contains no provision providing for the declaration of war or national emergency. 31

U.S.C. § 9705.

        54.      Instead, it provides funds that are earmarked by law for specific purposes as

delineated in the statute.

        66.      These delineations include funding for: “proper expenses of seizure;” payment of

services (such as to contractors or reimbursing States); awards to informers; satisfaction of liens;

“[p]ayment of amounts authorized by law with respect to remission and mitigation;” payment of




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certain claims; equitable sharing payments to States and others; State or local law enforcement

costs; and payments for the seizure and forfeiture program. 739.

       I.       National Environmental Policy Act

       67.      NEPA is the “basic national charter for protection of the environment.” 40 C.F.R.

§ 1500.1(a). It was enacted with the ambitious objectives of “encouraging productive and

enjoyable harmony between man and his environment . . . promoting efforts which will prevent

or eliminate damage to the environment and biosphere and stimulating the health and welfare of

man; and enriching the understanding of the ecological systems and natural resources important

to the Nation . . . .” 42 U.S.C. § 4321.

       68.       In order to achieve these goals, NEPA contains several “action forcing”

procedures, most significantly the mandate to prepare an environmental impact statement

(“EIS”) on major Federal actions “significantly affecting the quality of the human environment.”

Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 348 (1989); 42 U.S.C.

§ 4332(2)(C).

       69.      The preparation and public circulation of EISs and other NEPA analyses

promotes the statute’s broad environmental objectives in two primary ways: “It ensures that the

agency, in reaching its decision, will have available, and will carefully consider, detailed Id.

information concerning significant environmental impacts; it also guarantees that the relevant

information will be made available to the larger audience that may also play a role in both the

decision-making process and the implementation of that decision.” Methow Valley Citizens

Council, 490 U.S. at 349.

       70.      NEPA requires that “agencies shall integrate the NEPA process with other

planning at the earliest possible time to insure that planning and decisions reflect environmental




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values, to avoid delays later in the process, and to head off potential conflicts.” 40 C.F.R.

§ 1501.2; id. § 1502.5 (“An agency shall commence preparation of an [EIS] as close as possible

to the time the agency is developing or is presented with a proposal . . . .”).

       71.     The Council on Environmental Quality (“CEQ”) was created to administer NEPA

and has promulgated NEPA regulations, which are binding on all federal agencies. See

42 U.S.C. §§ 4342, 4344; 40 C.F.R. §§ 1500–1508.

       72.     NEPA regulations mandate disclosure and consideration of direct, indirect, and

cumulative environmental effects, with the underlying purpose of ensuring that the agency has

taken a “hard look” at the environmental impacts of proposed actions. 40 C.F.R. §§ 1502.16,

1508.7, 1508.8, 1508.27(b)(7).

       73.     If more than one Federal agency “[p]roposes or is involved in the same action,” or

“[i]s involved in a group of actions directly related to each other because of their functional

interdependence or geographical proximity,” then a “lead agency shall supervise the preparation

of an environmental impact statement.” Id. § 1501.5(a)(2).

       55.     The “potential lead agencies shall determine by letter or memorandum which

agency shall be lead agency” and “shall resolve the lead agency question so as not to cause

delay.” Id. § 1501.5(c). In the event of disagreement among the agencies, a multi-factor test

determines lead agency designation. Id. §§ 9705(a)(1).

       74.     The Secretary also has discretion under the Act to fund: “payment of awards for

information or assistance” leading to forfeiture; purchases of evidence; publicizing awards;

“payment for equipment for any vessel, vehicle, or aircraft” for Treasury law enforcement

agencies or for coordinating State or local law enforcement entities; settlement of Custom

Service claims; and expenses of private collaborators; and trainings on seizures and




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forfeitures 1501.5(c)(1)-(5) (in descending order, factors to consider are magnitude of agency’s

involvement, project approval/disapproval authority, expertise concerning the action’s

environmental effects, duration of agency’s involvement, and sequence of agency’s

involvement).

        75.     The lead NEPA agency “shall request the participation of each cooperating

agency in the NEPA process at the earliest possible time.” Id. § 1501.6(a)(1). Conversely, each

cooperating agency “shall participate in the NEPA process at the earliest possible time.” Id.

§ 1501.6(b)(1).

        56.     . Id. § 9705(a)(2).

        57.     The goal for these funds is to prosecute organized crime and specifically bring

seizure and forfeiture cases are intended to generate funds to bring more such cases with the

ultimate goal of disrupting and dismantling criminal enterprises.

        58.     Examples of recent prosecutions include: “Rabobank agreed to forfeit

$398,701,259 as a result of allowing illicit funds to be processed through the bank without

adequate Bank Secrecy Act (BSA) or AML review;” a New York man forfeited $1,624,172 as a

result of a biodiesel fraud scheme; and a St. Paul man forfeited $1,612,451 after defrauding the

Hmong community.3

        59.     On information and belief, the funds are also used to combat wildlife related

crimes such as trafficking, illegal fishing, and the like.

        60.     The fund is generated by forfeitures made by the Internal Revenue Service

Criminal Investigation division, U.S. Immigration and Customs Enforcement, CBP, and the U.S.

Secret Service.

3
 https://www.treasury.gov/about/organizational-structure/ig/Audit%20Reports%20and%20Testimonies/OIG-19-
022.pdf



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         61.    The funds are shared among specified federal agencies but also with the Coast

Guard, 31 U.S.C. § 9705(c), and some funds are allocated to State, local, and foreign authorities

for joint investigations and prosecutions. Id. § 9705(a)(1)(B)(iii), (a)(1)(G), (c)(2)(B).

                             CONSTITUTIONAL BACKGROUND

         A.     The Appropriations Clause

         62.76. Article I, § 9, cl. 7The U.S. Constitution provides that “no Money shall be drawn

from the Treasury, but in Consequence of Appropriations made by Law.” U.S. CONST. art. I, § 9,

cl. 7.

         63.77. The Appropriations Clause plays a critical role in the Constitution’s separation of

powers among the three branches of government and the checks and balances between them.

         64.78. The Clause has a “fundamental and comprehensive purpose … . . . to assure that

public funds will be spent according to the letter of the difficult judgments reached by Congress

as to the common good, and not according to the individual flavor of Government agents . . . .”

Office of Pers. Mgmt. v. Richmond, 496 U.S. 414, 427-28 (1990); id. at 427 (without the

Appropriations Clause, “the executive would possess an unbounded power over the public purse

of the nation; and might apply all its moneyed resources at his pleasure.”).” (quoting 2 J. STORY,

COMMENTARIES ON THE CONSTITUTION OF THE UNITED STATES § 1348 (3d ed. 1858)).))).

         65.79. If a Court finds that the executive branch is spending money in violation of a

spending provision, “it would be drawing funds from the Treasury without authorization by

statute and thus violating the Appropriations Clause.” United States v. McIntosh, 833 F.3d 1163,

1175 (9th Cir. 2016).




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          B.     Take Care Clause

          66.80. The President “shall take Care that the Laws be faithfully executed … . . . .”

U.S. CONST., Article. art. II, § 3.

          67.81. The Take Care Clause places an obligation on the President and those under his

supervision to comply with and execute clear statutory directives as enacted by Congress.

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 587 (1952) (“[T]he President’s power to

see that the laws are faithfully executed refutes the idea that he is to be a lawmaker. The

Constitution limits his functions in the lawmaking process to the recommending of laws he

thinks wise and the vetoing of laws he thinks bad.”).

          68.82. Under the Take Care Clause, the President and his subordinates may not create

law by disregarding or repealing a validly enacted statute. See Clinton v. City of New York, 524

U.S. 417, 4388 (1998) (“There is no provision in the Constitution that authorizes the President to

enact, to amend, or the repeal statutes.”).

                                    FACTUAL ALLEGATIONS

          69.83. On June 16, 2015, in a campaign announcement speech, then Mr. Donald Trump

stated:

          I would build a great wall. And nobody builds walls better than me, believe me.
          And I’ll build them very inexpensively. I will build a great great wall on our
          southern border and I’ll have Mexico pay for that wall.

          70.84. On January 25, 2019, at the end of the longest government shutdown, President

Trump stated:

          We really have no choice but to build a powerful wall or steel barrier. If we don’t
          get a fair deal from Congress, the government will either shut down on February
          15 again or I will use the powers afforded to me under the laws and the
          Constitution of the United States to address this emergency.




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       71.85. On February 15, 2019, in announcing the issuance of an emergency proclamation,

President Trump said:

            So we have a chance at getting close to $8 billion—whether it’s $8 billion
            or $2 billion or $1.5 billion, it’s going to build a lot of wall. We’re getting
            it done.

       A.      The February 15, 2019 Emergency Proclamation and Administration
               Statement Identifying $6.7 Billion for Transfer to Border Wall Construction

       72.86. On February 15, 2019, President Trump issued a “Presidential Proclamation on

Declaring a National Emergency Concerning the Southern Border of the United States.”

       73.87. The proclamation declares the “current situation at the southern border,” ”—

including “large-scale unlawful migration” and “sharp increases in the number of family units

entering and seeking entry to the United States,” ”—as a “national emergency,” and.” It further

states that “[b]ecause of the gravity of the current emergency situation, it is necessary for the

Armed Services to provide additional support to address the crisis.”

       74.88. Relying on the NEA, the proclamation invokes the emergency military

construction authority provided under 10 U.S.C. § 2808 (“the construction authority provided in

section 2808 of title 10, United States Code, is invoked and made available, according to its

terms, to the Secretary of Defense and, at the discretion of the Secretary of Defense, to the

Secretaries of the military departments.”).

       75.89. Section 2 of the proclamation directs that the Defense Secretary (as well as the

DHS Secretary and Secretary of the Interior) “shall take all appropriate actions, consistent with

applicable law, to use or support the use of the authorities herein invoked, including, if

necessary, the transfer and jurisdiction over border lands.”




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       90.     According to the administration, the emergency proclamation makes

approximately $6 billion in$3.6 billion available from funds that have been appropriated to

military construction projects. See Fact Sheet, Border Security Victory.

       76.91. In addition to the emergency proclamation, the administration also identified

approximately $3.1 billion in non-emergency funds that have been appropriated by Congress to

other purposes to instead be directed to border wall construction. These funds include, including

$601 million from the Treasury Forfeiture Fund, and $2.5 billion from the counterdrug support

funds, and $3.6 from military construction projectsaccount. Id.

       B.      The Nation’s Longest Government Shutdown, and the President’s Abuse of
                     the National Emergencies Act as a Negotiating Tactic

       77.92. President Trump first raised the specter ofpublicly threatened to issue an

emergency proclamation on January 4, 2019, two weeks into the nation’s longest federal

shutdown, which began at midnight on December 21, 2018, and which would continuecontinued

until January 25, 2019.

       78.93. The shutdown was the culmination of months of disagreement between the

President and Congress over the administration’s $5.7 billion demand for a border wall, and it

was the central dispute in the final, “lame duck” days of the 115th Congress.

       79.94. On December 11, 2018, President Trump met with House Minority Leader

(Speaker to be) Nancy Pelosi and Senate Minority Leader Chuck Schumer, and on live television

proclaimed, “I am proud to shut down the government for border security. I will take the mantle.

I will be the one to shut it down.” The President had made numerous earlier statements

suggesting he would relish shutting down the government if Congress did not meet his

preciseprovide all of the requested border wall funding demands. See, e.g., July 30, 2018 (“I

have no problem doing a shutdown”); September 12, 2018 (“If it happens, it happens”).



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       80.95. On December 19, 2018, the Senate passed a continuing resolution providing

funding to DHS and other agencies (Agriculture, Commerce, Justice, the Interior, State,

Transportation, and Housing and Urban Development),) until February 8, 2019, without border

wall funding, and with the understanding that President Trump supported the bill.

       81.96. On December 20, 2018 (one day before government funding for DHS and the

other agencies lapsed), after President Trump was attacked by conservative TV pundits and the

House Freedom Caucus criticized President Trump, the President flipped his position and

announced he would not sign the Senate bill because it did not have any border wall funding.

That afternoon, House Republicans passed a continuing resolution with $5.7 billion in border

wall funds.

       82.97. On December 21, 2018, President Trump encouraged Senator McConnell to

abolish the filibuster in order to pass the $5.7 billion spending bill in the Senate. Acknowledging

that this would not occur, President Trump mused that there was a “very good” chance of a

government shutdown and that it could last a “very long time.” As the President predicted, the

Senate voted down the House version of the bill and the government shut down at midnight.

       83.98. Two weeks later, on January 4, 2019, President Trump for the first time publicly

voiced his perceived authority to use the National Emergencies ActNEA for emergency border

wall funding.

       84.99. Between that date and the February 15, 2019, emergency proclamation, the

President repeatedly and clearly stated his belief that he could use the NEA could be used as a

negotiating tactic with Congress. During this time, the President also vacillated on his ultimate

intention to declare an emergency.




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       85.100.         On January 9, 2019, President Trump stated that “I have an absolute right

to do national emergency if I want,” and revealed that his “threshold” for invoking the

emergency would be if he “can’t make a deal with people that are unreasonable.”

       86.101.         On January 10, 2019, the President said that he was “maybe, definitely”

planning on invoking an emergency proclamation to build the border wall. President Trump

explained that working with Democrats in Congress was “ridiculous” and that “[i]f we don’t

make a deal, I would say 100 percent, but I don’t want to say 100 percent,” and that “[i]f we

don’t make a deal, I would say it would be very surprising to me that I would not declare a

national emergency and just fund it through the various mechanisms.”

       87.102.         On January 11, 2019, the President denied intent to immediately declare

an emergency under the NEA, stating that “what we’re not looking to do right now is national

emergency.”

       88.103.         On January 25, 2019, President Trump and Congress reached an

agreement to end the 35-day partial federal shutdown, providing funding for theDHS and other

affected agencies including DHS for three weeks, through February 15, 2019.

       89.104.         In his January 25 speech announcing the temporary deal to end the

shutdown, the President again threatened to use of the NEA as a negotiating tactic, stating, “[w]e

really have no choice but to build a powerful wall or steel barrier. If we don’t get a fair deal

from Congress, the government will either shut down on February 15 again or I will use the

powers afforded to me under the laws and the Constitution of the United States to address this

emergency.”

       90.105.         On January 29, 2019, UndersecretaryUnder Secretary of Defense for

Policy John Rood testified to the House Armed Services Committee that if President Trump




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declared an emergency and directed the Pentagon to act, that the military would build the wall “if

we judged it to be a lawful order. And I assume it would be.”

        91.106.         On January 31, 2019, President Trump stated that “we’ve set the stage for

what’s going to happen on February 15 [i.e.., an emergency proclamation] if a deal is not made.”

        92.107.         On February 1, 2019, the President sthated, “I think there’s a good chance

that we’ll have to do” an emergency proclamation, while noting “tremendous obstruction by

Democrats.”

        93.108.         The President would continue to threaten to use of the NEA until issuing

the emergency proclamation on February 15, 2019. At the press conference on February 15,

2019, announcing the emergency proclamation, however, the President disclaimed the need to

declare a national emergency, stating:, “I could do the wall over a longer period of time—I

didn’t need to do this—but I would rather do it much faster. … . . . I just want to get it done

faster, that’s all.”

        C.       CBP Has Already Constructed More than 700 Miles of Border Barriers, and
                 Congress Has Not Mandated New Border Fencing In More Than a Decade

        94.      CBP has considered its statutory fencing obligations under IIRIRA complete

since 2010, when it had completed 654 miles of primary border fencing (as well as

approximately 50 miles of secondary and tertiary fencing, for a total exceeding 700 miles).

        95.      In 2010, Acting CBP Deputy Commissioner David Aguilar told a House

committee, “[t]he Border Patrol has determined after extensive study that only 652 miles—not

700-miles—of fencing is operationally necessary to secure the southwest border.” Prior to the

Trump administration, DHS had not constructed significant new border fencing since 2010.

Congress has not mandated new border fencing in well over a decade, since the enactment of the

Secure Fence Act.



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       D.    Congress HasC.    Congress Provided the Trump Administration with
       Funding for More Than 175 Miles of New or Replacement Border Wall
       Construction, the Large Majority in Previous Appropriations Bills, Much of
       Which Remains Uncompleted

       96.109.         Congress has provided the Trump administration with nearly $3 billion in

funding for border fence construction, the large majoritymuch of which remains uncompleted.

       97.110.         In response to the administration’s fiscal year 2017 budget amendment

and request for supplemental appropriations, the Consolidated Appropriations Act, 2017,

provided CBP with $292341 million “for the replacementto replace approximately 40 miles of

existing primary pedestrian and vehicle fencing in high-priority areasborder along the southwest

border, using previously deployed and operationally effective designs, such as currently

deployed steel bollard designs … . . . .” Pub. L. No. 115-31, div. F, tit. VI131 Stat. 135, 434.

       98.111.         CBP directed those fiscal year 2017 funds to 40 miles of replacement wall

construction in San Diego, El Centro, El Paso, and near Santa Teresa. The constructedion was

expedited by thea waiver of the National Environmental Policy Act (“NEPA”),, the Endangered

Species Act (“ESA”), and more than 30 additional laws pursuant to IIRIRA § 102(c). See 82

Fed. Reg. 35,984, (August. 2, 2017) (San Diego); 82 Fed. Reg. 42,829, (Sept. 12, 2017) (El

Centro); 83 Fed. Reg. 3,012, 3012 (Jan. 22, 2018) (Santa Teresa).


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       99.112.        In March 2018, Congress provided the Trump administration with an

additional $1.34 billion for secondary fencing replacement in the San Diego sector, new primary

fencing in the Rio Grande Valley sector, and replacement of existing pedestrian fencing in any

location along the southwest border. Consolidated Appropriations Act, 2018, Pub. L. No. 115-

141, div. F, tit. II, § 230.(a)(1)-(4) (“DHS FY18 Appropriations ”).

       100.113.       CBP estimates that the fiscal year 2018 appropriations billDHS FY18

Appropriations will fund approximately 84 miles of border barrier construction.

       101.114.       DHS issued two waivers under IIRIRA § 102(c) to expedite border wall

construction in the lower Rio Grande Valley sector, —in Cameron County, Texas (83 Fed. Reg.

50,949), (Oct. 10, 2018)), and Hidalgo County, Texas (83 Fed. Reg. 51,472) (Oct. 11, 2018))—

waiving NEPA, ESA, and more than 30 additional laws.

       102.115.       DHS has issued two contracts to construct new border wall in the Rio

Grande sector using FY 2018 appropriations, both located in Hidalgo County: FY18 RGV-003

(six miles) and FY 18FY18 RGV-02 (five segments, eight miles).

       103.116.       The construction on these two contracts will be the first commenced of the

estimated 84 miles of border wall construction that is funded by the Fiscal Year 2018DHS FY18

Appropriations to be commenced.

       D.      Congress Specifically Rejected the Trump Administration’s Border Wall
               Budget Request, While Placing Geographic and Other Restrictions on the
               Money Appropriated

       104.    On February 15, 2019, immediately after issuing the emergency proclamation, the

President signed H.the 2019 J. Res. 31, Consolidated Appropriations Act, 2019,(H.R.J. Res. 31,

Pub. L. No. 116-6), providing $1.3 billion in border wall construction.

       117.    Despite this funding, Congress has not providedan additional funding demanded




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by $1.375 billion for border wall construction.

        105.118.          In enacting the 2019 Consolidated Appropriations Act, Congress

specifically rejected the additional funding President Trump requested for CBP specified border

wall priorities.

        119.       In addition, the 2019 Consolidated Appropriations Act (1) limits border wall

construction to the Rio Grande Valley, § 230; (2) prohibits the funding of border wall

construction in five specified areas, § 231; and (3) requires DHS to consult with local

communities and provide for public notice and comment prior to border wall construction within

five borderland cities in south Texas, § 232.

        E.         Agency Implementing Actions

        120.       On February 25, 2019, DHS wrote to DoD with a “Request for Assistance

Pursuant to 10 U.S.C. § 284.” Memorandum from Christina Bobb, Exec. Sec’y, DHS, to Capt.

Hallock N. Mohler Jr., Exec. Sec’y, DoD. The Emergency ProclamationMemorandum

requests that DoD assist in the implementation of the Trump administration’s border wall project

by funding, planning, and executing the construction of eleven border wall segments (as well as

associated roads and lighting) totaling approximately 218 miles. All 11 segments are proposed

entirely on federal land in the states of California, Arizona, or New Mexico, including protected

areas owned and administered by the Department of the Interior such as Cabeza Prieta National

Wildlife Refuge, Organ Pipe Cactus National Monument, San Pedro Riparian National

Conservation Area, and San Bernardino National Wildlife Refuge.

        121.       On March 25, 2019, Acting Defense Secretary Shanahan wrote to then DHS

Secretary Nielsen approving the request, and directing the obligation of up to $1 billion from the

counterdrug account for the U.S. Army Corps of Engineers to immediately plan and execute




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three border wall segments across 57 miles: Yuma Sector Projects 1 and 2 and El Paso Sector

Project 1.

       122.    Acting Defense Secretary Shanahan’s March 25, 2019 approval letter states that

“[a]s proponent of the requested action, CBP will serve as the lead agency for environmental

compliance.”

       123.    On April 9, 2019, DoD announced that the Army Corps of Engineers had awarded

two contracts totaling $1.178 billion for the construction of Yuma Sector Projects 1 and 2 and El

Paso Sector Project 1.

       124.    More than 90 percent of the fiscal year 2019 appropriations for the counterdrug

account have been obligated, leaving approximately $80 million. Accordingly, the vast majority

of the $2.5 billion to be drawn from this account are being transferred from other DoD

appropriations. The Defense Secretary’s March 25, 2019 authorization of $1 billion for the three

border wall projects is being transferred from funds appropriated to a military personnel account

into the counterdrug account, and then subsequently those funds are being obligated from that

account by Army Corps of Engineers to private contractors.

       125.    On April 11, 2019, Acting Defense Secretary Shanahan issued a memorandum for

the Under Secretary of Defense (Comptroller)/Chief Financial Officer, directing the Comptroller

to identify, by May 10, 2019, existing military construction projects of sufficient value to

provide up to $3.6 billion to transfer for border wall construction pursuant to 10 U.S.C.

§ 2808. The Acting Secretary’s memorandum excludes family housing, barracks, or dormitory

projects; projects that have already been awarded; and projects that have fiscal year 2019 award

dates. The memorandum directs the Comptroller to be prepared to make the identified funds




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available if the Acting Secretary determines that military construction funds are necessary to

address the proclaimed national emergency.

       G.       Defendants’ Actions Will Have Significant Environmental Impacts

       106.126.        The Trump administration haspreviously explained that its $5.7 billion

request for border wall construction will “fund construction of a total of approximately 234 miles

of new physical barrier and fully fund the top 10 priorities in CBP’s Border Security

Improvement Plan.” See Jan. 6, 2019 letterLetter from Russell T. Vought, OMB Acting

Director, OMB, to Senator. Richard Shelby, Chairman, Sen. Appropriations Committee

Chairman.Comm. (Jan. 6, 2019).

       107.127.        TheseThe administration’s “highest priority border wall miles” total 215

miles. See DHS Press Release, “DHS, Walls Work” (Dec. 12, 2018). Border Patrol has broken

down the 215 miles by sector (Border Patrol divides responsibility for border security operations

geographically among nine sectors, each with its own headquarters).. These highest priority

areas are: the San Diego sector- (5 miles;); El Centro sector- (14 miles;); Yuma sector- (27

miles;); El Paso sector- (9 miles;); Laredo sector- (55 miles;); and Rio Grande Valley sector-

(104 miles.).

       108.128.        CBP has not clarified what, if any, overlap exists between currently

funded the miles of border wall mileage already funded and the 215 miles of “highest priority

border wall.” Currently fundedHowever, new border wall mileage under the DHS FY 201818

Appropriations and FY 2019 appropriations billsConsolidated Appropriations Act is, however,

limited to the Rio Grande Valley sector; thus, all of the construction within “highest priority

areas” in the San Diego, El Centro, Yuma, El Paso, and Laredo sectors would not occur but for




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the unlawful appropriations reallocation under the emergency proclamationtransfers and

obligations.

        109.    The emergency proclamation provides the administration with access to a total of

$8.1 billion, despite its consistently stated position that $5.7 billion would fund its border wall

priority projects.

        129.    TheDHS’s February 25, 2019 request for DoD assistance proposes projects in

addition to CBP’s previously identified “highest priority border wall” segments, including

projects within the Tucson sector that would not occur but for the unlawful appropriations

transfers and obligations.

        110.130.       If carried out, the border wall construction funded by the emergency

proclamation, and the Defense Secretary’s and Army Corps of Engineers’ implementing actions

to identify, transfer, and obligate appropriated funds to border wall construction, would directly

harm Plaintiffs and their members. The environmental harm from this construction will likely,

among other concerns, impactincludes adverse impacts to: (1) threatened and endangered species

listed under the Endangered Species Act, as well as their designated critical habitat; impact(2)

lands under federal jurisdiction, including National Parks,; National Forests,; National Wildlife

Refuges, National Monuments, and other lands within the National Landscape Conservation

System (administered by the Bureau of Land Management),); Wilderness areas,; Wild and

Scenic Rivers,; and other areas of high environmental value; and impact(3) waters of the United

States protected by the Clean Water Act.

        111.131.       Of particular concern to Plaintiffs’ core organizational interests, is the fact

that the unlawful identification, transfer, and obligation of appropriated funds for border wall

construction unlawfully funded by the emergency proclamation would result in severance




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ofsever wildlife connectivity and cross-border movement between wildlife populations on either

side of the U.S.-Mexico border. Every endangered jaguar seen in the United States during the

species’ nascent recovery in the past two decades, for example, was born in Mexico.

       112.132.        Given that approximately 700 miles of the southern border already has

some form of fencing or “vehicle barriers” (passable to wildlife) on it, the cumulative and

irreversible impact of additional border fencing on wildlife populations becomes ever more

heightened with each additional mile of border wall constructed. Indeed, the border wall

construction funded by the emergency proclamation would likely result in the fencing of the

final remaining gaps in at least two Border Patrol sectors. greater with each additional mile of

border wall constructed. Under the February 25, 2019 DHS request for DoD assistance, the

transfer and obligation of appropriated funds will result in border wall construction within areas

that currently contain vehicle barriers on protected federal lands in Arizona and New Mexico,

including Cabeza Prieta National Wildlife Refuge, Organ Pipe Cactus National Monument,

Coronado National Forest, San Pedro Riparian National Conservation Area, and San Bernardino

National Wildlife Refuge. These protected lands contain essential habitat corridors and

connectivity for endangered species with populations on both sides of the border, including

jaguars. These corridors and connectivity will be served by the conversion of vehicle barriers to

border wall.

       113.133.        The emergency proclamation unlawfullyunlawful transfer and obligation

of appropriated funds as much as 5 miles of to border barrierwall construction in the San Diego

sector, which has an area of responsibilityspans from the Pacific Ocean eastward to the Imperial

County line, will harm Plaintiffs and their members. The San Diego sector is already heavily




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fortified, with primary fencing covering 46 of 60 miles, 30 percent of the miles of all secondary

and tertiary fencing along the southwest border, and more than 300 miles of patrol roads.

       114.134.        The remaining unfenced areas within the San Diego sector are of high

environmental value, and are generally mountainous and rugged, including unfenced areas

within the San Ysidro Mountains and the complex geography of southeastern San Diego County.

This area includeincludes two major tributaries of the Tijuana River (Cottonwood Creek and

Tecate Creek),) and designated critical habitat under the Endangered Species Act for the coastal

California gnatcatcher, Quino checkerspot butterfly, and Arroyo toad.

       115.135.        The emergency proclamation unlawfullyunlawful transfer and obligation

of appropriated funds as much as 14 miles of to border barrierwall construction in the El Centro

sector, which has an area of responsibilityspans from the Jacumba Mountains in the west to the

Imperial Sand Dunes in the east., will harm Plaintiffs and their members. The El Centro sector is

already heavily fortified, with primary fencing or vehicle barriers covering 59 of its 70 miles,

and 214 miles of patrol roads.

       116.136.        The remaining unfenced areas within the El Centro sector that remain

unfenced and/or have vehicle barriers passable to wildlife, are of high environmental value. The

largest unfenced area is in highly rugged and mountainous terrain within the Jacumba Mountains

and their sheer eastern escarpment. This area is designated critical habitat for the peninsular

bighorn sheep pursuant to the Endangered Species Act. 74 Fed. Reg. 17,288 (April 14, 2009).

The Jacumba Mountains “represent the southernmost portion of the Peninsular Ranges in the

United States,” and “represent the only area of habitat connecting the [U.S. population] with

other bighorn sheep populations that occupy the Peninsular Ranges in Mexico.” Id. at 17,318.




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       117.137.        The emergency proclamation unlawfullyunlawful transfer and obligation

of appropriated funds as much as 27 miles of to border barrierwall construction in the Yuma

sector, which has an area of responsibilityspans from the Imperial Sand Dunes in the westeast to

the Yuma-Pima County line in Arizona to the east., will harm Plaintiffs and their members. The

Yuma sector is already heavily fortified, with primary fencing or vehicle barriers covering 107 of

126 miles, as well as 209 miles of patrol roads.

       118.138.        The remaining unfenced areas within the Yuma sector which remain

unfenced and/or have vehicle barriers passable to wildlife, are located in Arizona, of high

environmental value, and located on rugged and mountainous terrain within the Barry M.

Goldwater Air Force Range and Cabeza Prieta National Wildlife Refuge. The area includes

essential habitat for endangered species, including the Sonoran pronghorn.

       139.    The emergency proclamationunlawful transfer and obligation of appropriated

funds as much as 9 miles of to border barrierwall construction in the Tucson sector, which spans

from the Yuma-Pima County line in Arizona to the state’s boundary with New Mexico, will

harm Plaintiffs and their members. The Tucson sector is already heavily fortified, with primary

fencing or vehicle barriers covering 211 of 262 miles.

       140.    The areas within the Tucson sector that remain unfenced and/or have vehicle

barriers passable to wildlife, are of high environmental value, including lands within Organ Pipe

Cactus National Monument, Coronado National Forest, San Pedro Riparian National

Conservation Area, and San Bernardino National Wildlife Refuge. The areas include designated

critical habitat for endangered species, including the jaguar.

       119.141.        The unlawful transfer and obligation of appropriated funds to border wall

construction in the El Paso sector, which has an area of responsibility including includes the




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entire border of New Mexico with Mexico as well as the two counties within far western Texas,

harms Plaintiffs and their members. The El Paso sector is already heavily fortified, with primary

fencing covering 166 of 180 miles, as well as 465 miles of patrol roads.

       120.142.       The remaining unfenced areas within the El Paso sector that remain

unfenced and/or have vehicle barriers passable to wildlife, are of high environmental value,

including large sections of the remote New Mexico “bootheel.” This area contains designated

critical habitat for jaguars and Chiricahua leopard frogs, and is renowned for its non-endangered

wildlife including mule deer, mountain lions, antelope, and a bison herd.

       121.143.       The emergency proclamation funds as much as 55 milesunlawful transfer

and obligation of appropriated fund to border barrierwall construction in the Laredo sector,

which has an area of responsibilityspans from Webb County in the northwest through, Texas, to

Zapata County in the southeast, Texas, harms Plaintiffs and their members. The Laredo sector is

lightly fortified, with primary fencing covering 1 of 171 miles, and 144 miles of patrol roads.

       122.144.       The Laredo sector is of high environmental value, and like the entire

southern Texas border, theits international border is defined by the Rio Grande River.

       123.145.       The emergency proclamation would unlawfully fundunlawful transfer and

obligation of appropriated funds to as much as 104 miles of border barrierwall construction in

the Rio Grande Valley sector, though some of this mileage may overlap with border wall

construction that hwas already been funded in prior appropriations bills, will harm Plaintiffs and

their members. The Rio Grande Valley sector, which encompasses the Lower Rio Grande

Valley, is heavily fortified in some areas, with primary fencing covering 55 of 316 river miles,

and 716 miles of patrol roads.




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       124.146.        The lLower Rio Grande Valley is considered one of the most biologically

diverse areas in North America, and is a particularly crucial area for migratory birds. The

remaining unfenced areas in the Rio Grande Valley sector are of high environmental value, and

include protected federal lands includinglike the Lower Rio Grande Valley National Wildlife

Refuge and Santa Ana National Wildlife Refuge, andas well as essential habitat for endangered

species includingsuch as ocelots.

       125.    The emergency proclamation will have environmental impacts that extend beyond

border wall construction. According to the White House, the emergency proclamation will

reprogram $601 million from the Treasury Forfeiture Fund. These funds are currently used to

combat organized crime.

       126.    INTERPOL and United Nations Environment classify “[a]buse of the

environment [a]s the fourth largest criminal activity in the world. Worth up to USD 258 billion,

it is increasing by five to seven per cent every year and converging with other forms of

international crime” and is “a growing threat to peace, security and stability.” Among these

crimes is illegal wildlife trade, which the GAO has found to range “from $7 billion to $23 billion

annually.”

       127.    The US Department of State classifies wildlife trafficking as a security threat.

According to the GAO, “[t]he United States is one of the world’s largest trafficking markets and

is increasingly becoming a source for illegal wildlife and wildlife products . . . .”

       128.    Wildlife trafficking is the second greatest threat to biological diversity after

habitat destruction. Plaintiffs dedicate organizational resources to addressing this threat. They

seek federal and state protections for heavily trafficked species being pushed toward the edge of

extinction and work to enforce those protections once granted. They work domestically and




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internationally to improve wildlife protections and raise awareness about the threats to wildlife

from trafficking. Plaintiffs and their members enjoy observing frequently trafficked species in

the wild in their native ecosystems. These species range from well-known animals such as

elephants to numerous fish species, birds, reptiles, and amphibians.

       129.    By redirecting funding used to combat organized criminal networks, on

information and belief funding will be lost for wildlife trafficking investigations and

prosecutions. Of the $1.4 billion in funds identified by the Office of Inspector General available

in the Treasury Forfeiture Fund for general law enforcement, the loss of any of those resources

including up to $601 million for border wall construction, will harm Plaintiffs’ interests. Even if

these funds are not specifically directed to wildlife trafficking, criminal networks often engage in

drug, human, and wildlife trafficking simultaneously. This means a decrease in investigations

and prosecutions is likely to negatively impact wildlife either directly or indirectly. This loss

will harm Plaintiffs and their members’ interests in observing and enjoying frequently trafficked

species in the wild. It will also force Plaintiffs to spend additional organizational resources

toward combatting wildlife trafficking and raising awareness about these criminal activities.




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                                     CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF
                              Unlawful Proclamation of Emergency

                           Violation of the National Emergencies Act

       130.147.        Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

       131.148.        Plaintiffs have a non-statutory right of action to enjoin and declare

unlawful Presidential action that is ultra vires.

       132.    The President’s authority to declare an emergency and redirect Congressional

appropriations is limited to statutory delegations of such authority, such as the delegation made

under the NEA.

       149.    The President’s own statements and the totality of surrounding circumstances

show that the proclamation was madePresident abused the authority granted to him to issue

proclamations under the NEA, by unlawfully using that authority as a political negotiating tactic,

not a valid “emergency” as Congress intended.

       133.150.        Even if the President’s use of his proclamation as a negotiating tactic was

lawful under the NEA, 10 U.S.C. § 2808 cannot be lawfully invoked to justify the emergency

transfer of appropriated military construction funds to border wall construction.

       134.    Because there is no national emergency across the southern border, President

Trump’s February 15, 2019 proclamation of emergency violates the NEA.

       151.    A proclamation issued under the NEA triggers the President’s authority to invoke

existing Acts of Congress that authorize “the exercise, during the period of a national emergency,

of any special or extraordinary power.” 50 U.S.C. § 1621(a); id. § 1631 (“When the President

declares a national emergency, no powers or authorities made available by statute for use in the



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event of an emergency shall be exercised unless and until the President specifies the provisions

of law under which he proposes that he, or other officers will act.”).

       152.      Accordingly, the scope of the President’s emergency powers is limited to

legislative enactments under which Congress has specifically granted those powers in advance.

       153.      10 U.S.C. § 2808 does not provide authority to conduct an emergency transfer of

appropriated military construction funds to border wall construction, and therefore the

proclamation’s reliance on that provision is unlawful.

       135.154.         Plaintiffs and their members will suffer irreparable injury if the emergency

proclamation is not declared unlawful, and. Plaintiffs and their members have no other adequate

remedy at law.

                          SECOND CLAIM FOR RELIEF
  Unlawful ReallocationTransfer of Funds Appropriated Fundsto Military Construction

          Violation of 10 U.S.C. § 2808 and 2019 Consolidated Appropriations Act

       136.155.         Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

       156.      Plaintiffs have a non-statutory right of action to enjoin and declareThe APA

requires courts to hold unlawful Presidentialand set aside any agency action that is ultra

vires.“(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;

(B) contrary to constitutional right, power, privilege, or immunity; [or] (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2).

       137.157.         The Defense Secretary’s and Army Corps of Engineers’ implementing

actions to identify, transfer, and obligate funds appropriated for military construction to border

wall construction are arbitrary, capricious, an abuse of discretion, and not in accordance with

law, in contravention of the APA standards of review.


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       138.158.        By its plain language, 10 U.S.C. § 2808 does not provide an emergency

source of funding for border wall construction. 10 U.S.C. § 2801(a) defines the term “military

construction” as including “any construction, development, conversion, or extension or any kind

carried out with respect to a military installation … or any acquisition of land or construction of

a defense access road.” In turn, “military installation” means a “base, camp, post, station, yard,

center, or other activity under the jurisdiction of the Secretary of a military department …

.” . . . .” (emphasis added). The vast majority, if not all, of the border wall construction that

would be funded by the proclamation would fund occurs on lands that do not constitute a

military installation, and in any event, the border wall is not in any event a military construction

project, and thus is nowt lawfully eligible for emergency military construction

reallocatedtransferred appropriations.

       139.159.        In addition, the military construction authority is limited to emergencies

“that require[][ ] use of the armed forces,” and “that are necessary to support such use of the

armed forces.” 10 U.S.C. § 2801(a). The dispute over border wall funding falls far short

ofhardly qualifies as an emergency requiring use of the armed services, and in no way supports

the armed forces. The emergency proclamation would in fact turn this requirement on its head,

by using the armed forces to engage on a domestic issue due to the President’s failure to achieve

his policy goals through the legislative and constitutional framework of the appropriations

process.

       140.160.        The broader context of Title 10 also demonstrates that military

construction funds may not be directed to border wall construction. Title 10, Chapter 15

(Military Support for Civilian Law Enforcement Agencies) is a relatively new addition to the

Armed Forces code addressing the specific circumstances and conditions under which the




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military may support domestic law enforcement agencies. Chapter 15 represents a departure

from longstanding separation of military and domestic law enforcement functions, and thus its

exceptions must be read narrowly and exclusively. The proclamation unlawfully provides for an

emergency involving military support to domestic law enforcement agencies that has not been

previously authorized by Congress.

       141.161.        The NEA only provides Presidential authority to invoke provisions under

which Congress has previously considered and addressed the specific emergency at hand. Under

Chapter 15, Congress has directly spoken to the circumstances in which the military may be

called upon to support civilian law enforcement agencies, and it limited those circumstances to

emergency situations involving weapons of mass destruction, id. § 10 U.S.C. § 282, and

situations involving bombings of places of public use, government facilities, public

transportation systems, and infrastructure facilities, 10 U.S.C. § . Id. § 283.

       142.162.        In addition, Congress has not enacted any NEA emergency provisions

under the Immigration Law Code (Title 8). Congress has, however, specifically considered the

urgency of “an actual or imminent mass influx of aliens arriving off the coast of the United

States, or near a land border,” and it did not contemplate the involvement of the military in those

situations, but instead focused on cooperation with local law enforcement officials, by —

allowing the Attorney General to authorize any State or local law enforcement officer to perform

federal immigration duties. 8 U.S.C. § 1103(a)(10).

       143.163.        UnderThe President’s invocation of 10 U.S.C. § 2808 is unlawful under

the plain language of that provision, and broader statutory structure of the military and

immigration codes, the President’s invocation of 10 U.S.C. § 2808as is the Defense Secretary’s

and Army Corps of Engineers’ implementing actions to identify, transfer, and obligate




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emergency funds from military construction housing to border wall construction was unlawful

Presidential action.

       164.    The Defense Secretary’s and Army Corps of Engineers’ implementing actions to

identify, transfer, and obligate up to $3.6 billion of appropriated military construction funds to

border wall construction violates the 2019 Consolidated Appropriations Act, by exceeding and

falling outside of the Act’s monetary and geographic limitations, respectively, on border wall

funding. § 230(a).

       165.    The President’s invocation of 10 U.S.C. § 2808, and the Defense Secretary’s and

Army Corps of Engineers’ implementing actions to identify, transfer, and obligate funds

appropriated for military construction to border wall construction, violate the 2019 Consolidated

Appropriations Act prohibition that “[n]one of the funds made available in this or any other

appropriations Act may be used to increase . . . funding for a program, project, or activity as

proposed in the President’s budget request for a fiscal year until such proposed change is

subsequently enacted in an appropriation Act, or unless such change is made pursuant to the

reprogramming or transfer provisions of this or any other appropriations Act.” 2019

Consolidated Appropriations Act, § 739.

       144.166.        Plaintiffs and their members will suffer irreparable injury if the

proclamation’s invocation of 10 U.S.C. § 2808 is President’s invocation of 10 U.S.C. § 2808,

and the Defense Secretary’s and Army Corps of Engineers’ implementing actions to identify,

transfer, and obligate funds appropriated for military construction to border wall construction,

are not declared unlawful, and. Plaintiffs and their members have no other adequate remedy at

law.




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                           THIRD CLAIM FOR RELIEF
        (IN THE ALTERNATIVE TO THE SECOND CLAIM FOR RELIEF)
  Unlawful ReallocationTransfer of Funds Appropriated Fundsto Military Construction

        Violation of 10 U.S.C. § 284 2808 and 2019 Consolidated Appropriations Act

        145.167.         Plaintiffs incorporate by reference the allegations in all preceding

               paragraphs.

        146.168.         In the event the Court finds that the Defense Secretary’s and Army Corps

of Engineers’ implementing actions are not subject to APA review, Plaintiffs have a non-

statutory right of action to enjoin and declare unlawful Presidential action that is those actions as

ultra vires.

        147.      10 U.S.C. § 284 (part of Chapter 15) does not provide an emergency source of

funding for border wall construction, but is one example of the types of assistance the military

may provide to civilian law enforcement agencies such as CBP in a non-emergency situation.

See, e.g., 10 U.S.C. § 271; allow use of military equipment and facilities, id. § 272; train and

advise civilian law enforcement officials, id. § 273; and maintain and operate equipment, id. §

274.

        148.      The non-emergency military support authorized under Chapter 15, including

support under 10 U.S.C. § 284, can only be provided to domestic law enforcement agencies

subject to several prior conditions. Such support, for example, may not be provided if it will

adversely affect military preparedness. Id. § 276. In addition, the civilian law enforcement

agency must normally reimburse Department of Defense for the costs of its support. Id. § 277.

        149.169.         For the above reasons, and for the same reasons described underin the

Second Claim II, under the plain language and broader statutory structure of the military and

immigration codes, the President’s invocation of 10 U.S.C. § 284 to for Relief, the Defense



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Secretary’s and Army Corps of Engineers’ implementing actions to identify, transfer emergency,

and obligate funds from counterdrug activitiesappropriated for military construction to border

wall construction wasis unlawful Presidential action. .

       150.170.        Plaintiffs and their members will suffer irreparable injury if the

proclamation’s invocation of 10 U.S.C. § 284 isPresident’s invocation of 10 U.S.C. § 2808, and

the Defense Secretary’s and Army Corps of Engineers’ implementing actions to identify,

transfer, and obligate funds appropriated for military construction to border wall construction,

are not declared unlawful, and Plaintiffs and their members have no adequate remedy at law.

                           FOURTH CLAIM FOR RELIEF
 Unlawful ReallocationTransfer of Appropriated Funds Into, and From, the Counterdrug
                                      Account

    Violation of 31 U.S.C. § 9705 Defense FY19 Appropriations and 2019 Consolidated
                                   Appropriations Act

       151.171.        Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

       152.    Plaintiffs have a non-statutory right of actionThe APA requires courts to enjoin

and declarehold unlawful Presidentialand set aside any agency action that is ultra vires.

       153.    31 U.S.C. § 9705 does not provide“(A) arbitrary, capricious, an emergency source

of funding for border wall construction.

       154.172.        Even where the Secretary of Treasury has “abuse of discretion”, or

otherwise not in accordance with law; (B) contrary to allocate funds, that discretion is limited to

specified categories of funding, 31constitutional right, power, privilege, or immunity; [or] (C) in

excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. §

9705(a)( 706(2). None of those categories are applicable here.




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          155.   For the above reasons, the announcement that funds from the Treasury Forfeiture

Fund will be reprogrammed for border wall construction was unlawful Presidential action.

          173.   The Defense Secretary’s and Army Corps of Engineers’ implementing actions to

identify, transfer, and obligate up to $2.5 billion of appropriated funds into, and from, the

10 U.S.C. § 284 counterdrug account to border wall construction are arbitrary, capricious, an

abuse of discretion, and not in accordance with law, in contravention of the APA standards of

review.

          174.   The Defense Secretary’s implementing actions to identify and transfer up to $2.5

billion of appropriated funds into the counterdrug account violate the DoD FY19 Appropriations

Act general transfer authority, as the transfer would be an unlawful “case where the item for

which funds are requested has been denied by the Congress.” Defense FY Appropriations,

§ 8005.

          175.   The Defense Secretary’s and Army Corps of Engineers’ implementing actions to

identify, transfer, and obligate up to $2.5 billion of appropriated funds into, and from, the

counterdrug account to fund border wall construction violate the 2019 Consolidated

Appropriations Act, by exceeding and falling outside of the Act’s monetary and geographic

limitations, respectively, on border wall funding. 2019 Consolidated Appropriations Act,

§ 230(a).

          176.   The Defense Secretary’s and Army Corps of Engineers’ implementing actions to

identify, transfer, and obligate up to $2.5 billion of appropriated funds into, and from, the

counterdrug account to fund border wall construction violate the 2019 Consolidated

Appropriations Act prohibition that “[n]one of the funds made available in this or any other

appropriations Act may be used to increase . . . funding for a program, project, or activity as




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proposed in the President’s budget request for a fiscal year until such proposed change is

subsequently enacted in an appropriation Act, or unless such change is made pursuant to the

reprogramming or transfer provisions of this or any other appropriations Act.” 2019

Consolidated Appropriations Act, § 739; see also 10 U.S.C. § 2214(b).

       156.177.        Plaintiffs and their members will suffer irreparable injury if the

reprogramming of funds from 31 U.S.C. § 9705 is Defense Secretary’s and Army Corps of

Engineers’ implementing actions to identify, transfer, and obligate up to $2.5 billion of

appropriated funds into, and from, the counterdrug account to border wall construction are not

declared unlawful, and. Plaintiffs and their members have no other adequate remedy at law.

                            FIFTH CLAIM FOR RELIEF
         (IN THE ALTERNATIVE TO THE FOURTH CLAIM FOR RELIEF)
   Unlawful Transfer of Appropriated Funds Into, and From, the Counterdrug Account

  Violation of Defense FY 19 Appropriations and 2019 Consolidated Appropriations Act

       178.    Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

       179.    In the event the Court finds that the Defense Secretary’s and Army Corps of

Engineers’ implementing actions are not subject to APA review, Plaintiffs have a non-statutory

right of action to enjoin and declare those actions as ultra vires.

       180.    For the same reasons described in the Fourth Claim for Relief, the Defense

Secretary’s and Army Corps of Engineers’ implementing actions to identify, transfer, and

obligate up to $2.5 billion of appropriated funds into, and from, the counterdrug account to

border wall construction are unlawful.

       181.     Plaintiffs and their members will suffer irreparable injury if the Defense

Secretary’s and Army Corps of Engineers’ implementing actions to identify, transfer, and




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obligate up to $2.5 billion of appropriated funds into, and from, the counterdrug account to

border wall construction are not declared unlawful.

                             SIXTH CLAIM FOR RELIEF
 Failure to Carry Out Duties as Lead Agency and Cooperating Agencies in Preparation of
                            Environmental Impact Statement

                      Violation of NEPA (40 C.F.R. § 1501.5 and § 1501.6)

          182.   Plaintiffs incorporate by reference the allegations in all preceding paragraphs.

          183.   The APA requires courts to hold unlawful and set aside any agency action that is

“(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; (B)

contrary to constitutional right, power, privilege, or immunity; [or] (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2).

          184.   Defendants have failed to meet the duties placed upon lead and cooperating

agencies by NEPA and its implementing regulations, in contravention of APA standards of

review.

          185.   DHS has requested DoD to pay for border wall construction through the

identification, transfer, and obligation of funds appropriated to other purposes. In addition, DHS

has requested that DoD execute the border wall projects though the construction of border wall

fencing, the construction of roads, and the installation of lighting. All of the requests received to

date would result in border wall construction on federal lands, primarily protected federal lands

owned and administered by the Department of the Interior. DoD has approved assistance for

specific border wall construction segments within the Trump administration’s larger border wall

project, including Yuma Sector Projects 1 and 2 and El Paso Project 1, and has identified,

transferred, and obligated more than $1 billion into, and from, the counterdrug account to carry

out these projects.



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       186.    DoD will identify up to $3.6 billion of funds appropriated for military

construction by May 15, 2019, to be available for transfer and obligation to fund the Trump

administration’s border wall project pursuant to the purported emergency authority of 10 U.S.C.

§ 2808.

       187.    NEPA requires that a lead agency be designated for the Trump administration’s

border wall project, including the Defense Secretary’s and Army Corps of Engineers’

implementing actions to identify, transfer, and obligate appropriated funds to border wall

construction, which is primarily planned for protected lands owned and administered by the

Department of the Interior. 40 C.F.R. § 1501.5(a)(1)-(2). The lead agency “shall supervise the

preparation of an environmental impact statement,” as more than one Federal agency “is

involved in the same action,” and the border wall project involves a “group of actions directly

related to each other because of their functional interdependence or geographical proximity.” 40

C.F.R. § 1501.5(a)(1)-(2).

       188.    The lead agency “shall [r]equest the participation of each cooperating agency in

the NEPA process at the earliest possible time.” Id. § 1501.6(a)(1). Conversely, “[e]ach

cooperating agency shall [p]articipate in the NEPA process at the earliest possible time.” Id.

§ 1501.6(b)(1).

       189.    Acting Secretary Shanahan’s March 25, 2019 letter approving the DHS February

25, 2019 request for assistance states that “CBP will serve as the lead agency for environmental

compliance,” despite the fact that DoD and the Army Corps of Engineers are funding,

implementing, and constructing the border wall projects.

       190.       Despite the DoD actions already taken to identify, transfer, and obligate funds

appropriated to other purposes, the specific identification of border wall project areas, and the




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apparent imminence of project related construction, CBP has not initiated the NEPA process, in

violation of its duties as lead agency to “supervise the preparation of an environmental impact

statement,” and to “[r]equest the participation of each cooperating agency in the NEPA process

at the earliest possible time.” 40 C.F.R. § 1501.5 (a)(1)-(2), § 1501.6(a)(1).

        191.     Conversely, DoD, the Army Corps of Engineers, and the Department of the

Interior have acted in violation of their NEPA duties as cooperating agencies to “[p]articipate in

the NEPA process at the earliest possible time.” Id. § 1501.6(b)(1).

        192.     On information and belief, CBP has no intention of conducting any NEPA review,

but instead intends to issue waivers of NEPA and other laws pursuant to IIRIRA 102(c). Any

such waivers would represent an unlawful bootstrapping of the waiver authority, which is

directed to actions of DHS. See § 102(a) (“The Secretary of Homeland Security shall take such

actions as may be necessary to install additional barriers and roads . . .”) (emphasis added). The

border wall projects are being carried out (with little to no DHS involvement or expenditure) by

DoD and Army Corps of Engineers, on lands owned and administered by the Department of the

Interior.4 As more than one Federal agency is “involved in the same action” and the border wall

projects are “a group of actions directly related to each other because of their functional

interdependence or geographical proximity,” the Trump administration’s border wall project

creates cooperating agency duties for DoD, the Army Corps of Engineers, and Department of the

Interior that are beyond the scope of the IIRIRA waiver authority. 40 C.F.R. § 1501.5(a)-(c),

§ 1501.6.




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 Border wall projects are also proposed for lands within the Coronado National Forest, administered by the U.S.
Forest Service, an agency of the Department of Agriculture. The Forest Service should also serve as a cooperating
agency.



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         193.     Plaintiffs and their members will suffer irreparable injury if Defendants’ failures

to meet their duties as lead agency and cooperating agencies under NEPA are not declared

unlawful, and unless those agencies are not thereby directed to immediately begin preparation of

an environmental impact statement. Plaintiffs and their members have no other adequate remedy

at law

                                 SEVENTH CLAIM FOR RELIEF
                                    Constitutional Violation

                  Violation of the Appropriations Clause of the U.S. Constitution
                                       Article I, Section 9, Clause 7


         157.194.        Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

         158.195.        Article I, § 9, cl. 7 of the U.S. Constitution provides that “no Money shall

be drawn from the Treasury, but in Consequence of Appropriations made by Law.” U.S. CONST.

art. I, § 9, cl. 7.

         159.196.        Congress’s “power of the purse” has been described as the “most

important single curb” on presidential authority, because it vests the powers of public revenue

and public expenditures with the people’s representatives in Congress. EDWARD S. CORWIN, THE

CONSTITUTION AND WHAT IT MEANS TODAY 134 (13th ed. 1975); see Reeside v. Walker, 52 U.S.

272, 291 (1850) (interpreting the Appropriations Clause to require that “however(“However

much money may be in the Treasury at any one time, not a dollar of it can be used in the

payment of any thing not thus previously sanctioned.”).

         160.     In the absence of applicable statutory authority on which to transfer the military

construction and organized crime appropriations, the proclamation unlawfully reallocates money




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without satisfying the requirements of 10 U.S.C. § 2808, 33 U.S.C. § 2293, or 31 U.S.C. § 9705,

and is thus violating the Appropriations Clause.

       197.    The proclamation and agency implementing actions to identify, transfer, and

obligate appropriated funds violate 10 U.S.C. § 2808, DoD FY19 Defense Appropriations Act,

and 2019 Consolidated Appropriations Act. Congress has not appropriated the funds being

transferred and obligated to border wall construction for that purpose, and limited the funds it has

appropriated to border wall construction to projects within the Rio Grande Valley that are subject

to several additional restrictions. Defendants’ unlawful transfer and obligation of appropriated

funds for border wall construction violates the Appropriations Clause.

       161.198.        Plaintiffs and their members will suffer irreparable injury if this

constitutional violation is not declared unlawful, and. Plaintiffs and their members have no other

adequate remedy at law.

                              SEIXGHTH CLAIM FOR RELIEF
                                  Constitutional Violation

                  Violation of the Take Care Clause of the U.S. Constitution
                                     Article II, Section 3

       162.199.        Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

       163.200.        Article II of the U.S. Constitution provides that “[t]he executive Power

shall be vested in a President,” and that he or she “shall take Care that the Laws be faithfully

executed.” U.S. Constitution ArticleCONST. art. II, § 3.

       164.201.        The President has failed to comply with the requirements and limitations

of law that the Executive Branch is required to “faithfully execute,” including the National

Emergencies Act, NEA, 10 U.S.C. § 2808, 10 U.S.C. § 283, FY 19 Defense Appropriations



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Act, and 31 U.S.C. § 9705.2019 Consolidated Appropriations Act. Accordingly, the President’s

issuance of the emergency proclamation, as well as agencyand the Defense Secretary’s and

Army Corps’ implementing actions taken or directed to be taken under the emergency

proclamationidentify, transfer, and obligate appropriated funds to border wall construction,

violate the Take Care Clause.

       165.202.        Plaintiffs and their members will suffer irreparable injury if this

constitutional violation is not declared unlawful, and. Plaintiffs and their members have no other

adequate remedy at law.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that this Court:

       1.      Declare the Emergency Proclamation, unlawful under the National Emergencies

Act;

       1.2.    Declare the Defense Secretary’s and agency Army Corps of Engineers’

implementing actions taken or directed to be taken under the proclamation, including the

reallocationidentify, transfer, and expenditure of obligate funds appropriated to other purposes in

order to construct a border wall pursuant to that proclamation, are unlawful under the National

Emergencies 10 U.S.C. § 2808, Defense FY19 Appropriations, and 2019 Consolidated

Appropriations Act;

       3.      Declare that Defendants’ failure to meet their respective duties as lead agency and

cooperating agencies under NEPA as unlawful, and Order the immediate initiation of an

environmental impact statement;

       2.      Declare the Emergency Proclamation, and agencythe Defense Secretary’s and

Army Corps of Engineers’ implementing actions taken or directed to be taken under the

proclamation, including the reallocation and expenditure of to identify, transfer and obligate

funds appropriated to other purposes in order to construct a border wall pursuant to that

proclamation, are unlawful under the National Emergencies Act and the invoked emergency

provisions including 10 U.S.C. § 2808, 10 U.S.C. § 284, and 31 U.S.C. § 9705;

       3.4.    Declare the Emergency Proclamation, and agency actions taken or directed to be

taken under the proclamation, including the reallocation and expenditure of funds to construct a

border wall pursuant to that proclamation, —are unconstitutional under the Article I

Appropriations Clause and the Article II Take Care Clause;




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       4.5.    Set aside and vacate the Emergency Proclamation, and agency actions taken or

directed to be taken under the proclamation, including the reallocation and expenditure of

fundsthe Defense Secretary’s and Army Corps of Engineers’ implementing actions to identify,

transfer and obligate funds appropriated to other purposes in order to construct a border wall

pursuant to that proclamation;

       5.6.    Enjoin all reallocationtransfers and obligations of appropriated funds taken under

the Emergency Proclamation;

       6.7.    Retain jurisdiction to ensure compliance with the Court’s Orders;

       7.8.    Award Plaintiffs their reasonable costs of litigation, including reasonable

attorneys’ fees, expert fees, and costs; and

       8.9.    Grant such other and further relief as the Court may deem just and proper.

DATED:         February 16April 15, 2019                     Respectfully submitted,

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